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                     EXHIBIT A
                  Complaint (with Exhibits)
                          Part 3 of 7
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            Exhibit 17
         Case 4:17-cv-00101-CDL Document 1-4 Filed 05/12/17 Page 3 of 88




FHA FORM No. 2453-M             DEPARTMENT OF HOUSING AND URBAN DEVELOPMENT
June 1975                              FEDERAL HOUSING ADMINISTRATION

                                    COMMITMENT TO INSURE UPON COMPLETION
                                              · SECTION 207
                                                   (Pursuant to Section 223(j))
                                                  AMENDMENT No. I
TO:
Red Mortgage Capital. LLC                                        Project Number:._0=6o.:.1_.-l...,l-=.28.,.3.___ _ _ _ _ __
 (Mortgagee)

Two Mlranova Place                                               Overlook Gardens Properties, LLC
  (Street)                                                               (Name Mortgagor)

Columbus. OH43215                                                 1605 Clinton Road. Macon. GA 3121 l
 (City and State)                                                         (Address)


DEAR SIRS:

          We understand that you, as Mortgagee, have agreed to make a loan to Overlook Gardens Properties.
LLC herein after caHed the "Mortgagor"), in an amount not exceeding the sum of Five Million Flye Hundred
Twenty Thousand Dollars ($5, 520,000) to be secured by a credit instrument and security instrument (hereinafter
jointly called the "Mortgage") covering real property with existing building(s) thereon, {hereinafter called the
"Project"), situated in Bibb County and State of Georgia at 1605 Clinton Road in Macon. GA 31211 shown on the
As-built Survey, Surveyor's Certificate, and legal description of the property.

         It is your intention to present the said Mortgage to this Administration  for
                                                                                   mongage insurance under the
provisions of Section 223(f) of the National Housing Act, and the Regulations there under now in effect

        The Federal Housing Commissioner acting herein on behalf of the Secre'tary of Housing and Urban
Development hereby agrees to insure said Mortgage under the provisions of said Act and Regulations upon the
following conditions:

Upon endorsement of the Mcrtgage for insurance, critical repairs, if any, shall have been completed in accordance
with narrative underwriting narrative submitted by Red Mortgage Capital, LLC on July 3, 2013.

    I.    During the course of repairs listed in attached Exhibit "A", the Commissioner and his representatives-shall
          at all times have access to the property and the right to inspect the progress of the repairs. In addition, if
          required by the Commissioner, the Mortgagor will furnish at the Project site all necessary facilities for the
          use of the Commissioner's inspector such as, office space, use ofa telephone, typewriter, etc. The
          inspection of the repairs by a representative or representatives of the Commissioner shall be for the benefit
          and protection of the Secretary ofl:;lousing and Urban Development. If deviations from the Work Write-up
          and Specifications.(and Drawings, if applicable) or unsatisfactory worlananship or defective materials are
          not corrected to the satisfaction of the Commissioner prior to the completion ofrepairs, the Mortgage will
          not be considered eligible for insurance.

    2.    Prior to endorsement of the Mortgage for insurance, the Mortgagor shall present to the Commissioner a title
          policy or title evidence in conformity with the Regulations above mentioned which shall show that title to
          the property on the date of endorsement of the Mortgage for Insurance is vested in the Mortgagor free of all
          encumbrances other than said Mortgage and all exceptions to title (either junior or prior to said Mortgage)
          except such as are specifically determined to be acceptable by the Commissioner. The Mortgagor shall also
          furnish satisfactory pro.of that there exist no unpaid obligations contracted in connection with the Mortgage
          transaction, the purchase of the mongaged property or refinancing of existing indebtedness, or the
          completion of the repairs, except such obligations as may be approved by the Commissioner. ff such title
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l                       evidence Is in the form of a title insurance policy, it shall be its terms inure to the benefit of the Mortgagee
                        and/or the Secretary of Housing and Urban Development, as their Interest~ may appear. If under the Jaws
                        of the jurisdiction in which the Project is located the'chattels and personal property of the Mortgagor
                        required in the operation of the Project are not covered by and subject to the terms of the Mortgage, the
                        Mortgagee must require and receive from the Mortgagor a chattel mortgage or such other security
  1
      l                 instrument as may be necessary covering such personal property and chattels.
      I
                   4.   The Mortgage shall bear interest at the rate 4.28 percent per annum payable on the first day of each month
                        on t.he outstanding balance of principal. The first payment to principal (Commencement of amortization)
      l
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                        shall be due not later than the first day of the second month following the date of endorsement of the
                        Mortgage for insurance. The Mortgage shall be payable on a level annuity basis by 420 monthly payments
                        of principal and interest in the amount of $25,376.81. The maturity and fina1 payment date shall be 34
      l                 years and 11 months following the due date of the first payment to principal.
          I
      I            5.   The credit instrument and the sectirity instrument to be insured shall be in the form prescribed by the
                        Commissioner for use in connection with Section 223(f) loans in the locality in which the property is
                        situated.

                   6.   The Mortgagor must possess the powers necessary for operating the Project and meeting all the
                        requirements of the Commissioner for insurance of the Mortgage. Prior to endorsement of the Mortgage
                        for insurance, there.shall be filed with the Commissioner a copy of the instrument under which the
                        Mortgagor entity is created (unless the Mortgagor is an individual) together with copies of all instruments
                        or agreements necessary under the laws of the applicable jurisdiction to authorize execution of the
                        Mortgage and the other closing documents, and a Regulatory Agreement or other instrument as will permit
                        the Commissioner's regulation of the Mortgagor as to rents, charges and methods of operation. Such
                        instrument shall provide, among other things, for the establishment of a Reserve Fund for Replacements by
                        payment ofSl 15,920 per annum/$9.660 per month to accumulated monthly under the control of the
                        Mortgagee, commencing on the date of the first payment to principal as established in the insured Mortgage
                        unless a later date is agreed to by the Commissioner. In addition to the per annum amount required to be
                        accumulated monthly under contr.ol of the Mortgagee for the Reserve Fund for Replacements, a new
                        Reserve Fund for Replacements account must be established prior to endorsement of the Mortgage for
                        insurance by depositing the balance of the existing reserve account which is approximately $00.00. An
                        initial deposit to the Reserve Fund for Replacements in the amount ofS358,800 will be made at initial
                        closing.

                   7. If any repairs are to be made to an existing Project which require additional sewer, water, gas or electrical
                      facilities, evidence satisfactory to the Commissioner shall be submitted prior to endorsement of the
                      Mortgage for insurance showing that adequate sewer, water, gas, and electrical facilities have been fully,
                      installed and that necessary public streets, sidewalks and curbing outside the Project site have been
                      completed. All off-site facilitates or utilities required by the special conditions under this commitment
              •·      shall be included in such evidence.

                   8. Prior to the endorsement of the Mortgage for insurance, evidence shall be submitted to the Commissioner
                      that the buildings, including electric wiring, plumbing, gas, and other appliances therein have been
                      inspected and approved by all departments, boards, or agencies of the municipality, county or State, or
                      other government bureaus or departments having jurisdiction thereof, and by the rating or inspection
                      organization, bureau, association or body performing similar functions and that such certification as may be
                      required with respect to the approval of the said buildings for occupancy and otherwise as may be required
                      by the Commissioner have been issued to the Mortgagor.

                   9. Prior to the endorsement of the Mortgage for insurance, the Commissioner shall be furnished with a current
                       As-built survey duly certified by a registered surveyor satisfactory to the Commissioner and an u~dated
                       Surveyor's Certificate showing that there are no easements or encroachments upon the subject property
                     · except those approved by the Commissioner and that the improvements of the Project are contained upon
                       the land covered by the Mortgage and within the building restriction lines, if any, on said land and do not
                       encroach upon or overhang any land not covered by the Mortgage or beyond the said building restriction

                                                                                      Commitment to Insure Upon Completion Amendment No, I
                                                                                                                Overlook Gardens Apartments
                                                                                                                       Project No: 061-11283
                                                                                                                                  ZIP a g e
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          lines, if any, nor any easement or right-of-way. The survey shall also show the exact location of water,
          sewer, gas and electric mains, and all easements for such utilities then existing.

      lO. Upon endorsement of the Mortgage for insurance, the Mortgage must be current with respect to al I
          payments required to be made by its terms, including all deposits required to be made with the Mortgagee
          for mortgage insurance premium, fire, and other property insurance premiums, ground rents, water rates,
          taxes and other assessments; and there shall be in full force and effect fire and other property insurance as
          required by the insured Mortgage.

      11. Upon endorsement of the Mortgage for insurance, the Mortgagee shall pay to the Commissioner in
          advance, a mortgage insurance premium equal to one per centum of the principal amount of the insured
          Mortgage to cover the first mortgage insurance premium and shall continue to make payments thereafter as
          required by the aforesaid Regulations.

      12. In the case of a Project (I) on which construction was commenced prior to June 30, 1974, (2) which was
          completed prior to December 31, 1975, (3) on which an application was filed after completion and prior to
          December 31, 1975, and (4) which is less than one year old at the time of endorsement of the Mortgage for
          insurance, the Mortgagor shall furnish satisfactory evidence that the work of the General Contractor is
          coveted by a guarantee acceptable to the Commissioner, running for a period of least one year, following
          endorsement of the mortgage, against latent defects and faulty workmanship and defective materials in the
          construction of the building, which guarantee will be secured by (a) a valid surety bond (FHA Form
1.        Number 3259) in an amount not less than ten percent (10%) of the cost of construction, running for a
          period of not less than two years following endorsement of the mortgage, with the Mortgagee and
          Mortgagor named as obligees on the bond with the Mortgagee's interest assignable to the Commissioner; or
          (b) a sum equal to two and one-half percent (2.5%) oftbe face amount of the Mortgage to be held in escrow
          and subject to the control of the Mortgagee for a period of 15 months following endorsement of the
          Mortgage, which sum, upon faj.lure of such corrections being made as are assigns, for making such required
          corrections or, with the consent of the Commissioner, may be applied to the last maturing installments of
          principal of the indebtedness evidenced and secured by the Mortgage.                                    ·

     13. Prior to endorsement of the Mortgage for insurance, the Mortgagor must certify under oath that in selecting
         tenants for the property covered by the Mortgage, the Mortgagor will not discriminate against any family
         by reason of the fact that there are children in the family, unless the Commissioner determines that the
         Project is intended primarily for occupancy by the elderly or handicapped and is not compatible for .
         occupancy by families with children, and that the Mortgagor will not sell the property while mortgage
         insurance ls in effect un'less the purchaser also so certifies and files such certification with the
         Commissioner.                                                                  ·

     14. Pr_ior to endorsement of the Mortgage for insurance, the Mortgagor must certify under oath that so Jong as
         the Commissioner has any interest in the Mortgage transaction no part of any building will be rented for a
         period of less than 30 days or operated in such a manner as to offer any hotel service to any tenant in the
         building or bµildings; and that the property will not be sold so long as the Commissioner retains any
         interest therein, unless the purchaser files with the Commissioner a like certification executed by such
         purchaser under oath.

     15. The Mortgagor shall not be required to pay to the Mortgagee an initial service charge in excess of two
         percent (2%) of the original amount of the Mortgage.

     16. This commitment shall expire 60 days from the date hereof, unless duly extende.d in writing by the
         Commissioner. Upon such expiration, all rights and obligations of the respective parties shall cease. Prior
         to any extension of this commitment, the Commissioner may, at his/her option, reexamine the commitment
         to detennine whether it shall be extended, shall be extended in the same amount, or shall be amended to
         include a lesser amount.

     17. Prior to the execution of any repair contracts relative to the subject Project, the Mortgagor, Mortgagee,
         shall execute the Agreement and Certification Form Number FHA 3306 and the Federal Housing

                                                                       Commitment to Insure Upon Completion Amendment No. I
                                                                                                 Overlook Gardens Apartrnenls
                                                                                                        Project No: 061- 11283
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             Commissioner and the Mortgagor shall be bound thereby with respect any subsequent contracts or
             subcontracts. The commitment amount herein above is subject to appropriate reduction in accordance with
             the terms ofthe Agreement and Certification.

"        18. The reopening of an expired commitment must be accompanied by a reopening fee of $.50 per $1,000 of
I            the loan amount.

         19. It is a condition ofthis commitment that the Mortgagee on behalf of the proposed substitute sponsor(s)
1             must indicate any change in sponsorship upon which this commitment was predicated in writing and the
    !        ·commissioner must approve such request in writing.

         20. In the event additional code requirements are imposed by any state or local authority after the issuance.of
             this commitment that would cause the total cost of all required repairs to exceed fifteen percent (I 5%) of
1            the total HUD/FHA estimate of value after repairs, this commitment shall b~ null _and vo!d.

         21. The following language shall be inserted in the mortgage Note:

             "The debt evidenced by this Note may not be prepaid either in whole or in part for a period of five (5) years
             from the date of endorsement hereof except in cases where the prior written approval of the Federal
             Housing Commissioner is obtained and such written approval is expressly based upon the mortgagor
             entering into a Rental Use Agreement with the Commissioner to maintain the property as rental housing for
             th~ remainder of the specified five_(S) year period."

         22. A repair escrow of$26.770 for completion of the non-critical repairs shown on the attached "Exhibit N
             will be established in cash for any repalrs not completed prior to loan closing at 100% of the
             Commissioner's estimate of the cost to complete same and 20% ofthe repair <.<ost estimate in the amount of
             $5,354.00 must also be placed In escrow. These funds are a part of the developer's fee and all repairs not
             completed before endorsement must be completed within 12 months of initial/final endorsement. If the
             mortgagor has not completed all repairs by the end of the repair period, the mortgagee will complete the
             repairs using the funds in escrow. The mortgagee will provide the mortgagor a breakdown of the repairs
             and the cost of completion.

        23. Funds remaining in the escrow account must be placed in the reserve fund for replacement when: (1) all
            repairs have been completed to HUD's satisfaction. (2) A supplemental cost certification has been
            su.bmitted to and approved by the HUD office; (3) evidence·of clear title has been provided to the HUD
            Office; and (4) latent defects assurances have been provided.

            The latent defects assurance will be in the form of: (1) Cash or letter of credit (at the option of the
            mortgagee) in an amount equill to 2 1/2% of the repair cost and must be maintained for IS months from
            completion of repairs; (2) A Surety Bond for at least 10% of the repair cost which runs for a period of two
            years from the date of completion of repairs. All repairs must be completed within 12 months of
            endorsernent(unJess an extellSion is approved by HUD).

        24. Tax and Insurance Escrows must remain with the project.

        25. Prior to initiaVfinal endorsement, the mortgagee must provide a certified Joan closing statement signed by
            the mortgagee and mortgagor, detailing the amount of any promissory notes made by the mortgagor, and
            itemizing the disbursement of mortgage proceeds and of the mortgagor's cash contribution, if any.

        26. A HUD Form 93479, Monthly Report for Establishing Net Income, Schedule A, Band C, will be provided
            begim:iing the first month following closing for a minimum of six months.


        27. At least 15 days prior to anticipated date for endorsement of the mortgage note, three draft.copies of all
            documents and exhibits for closing shall be submitted to the Commissioner. After review, the place and


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                                                                                                 . Overlook Gardens Apartments
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              date of the closing will be designated, at which time the documents and exhibits in final form shall be
              delivered to the Commissioner for approval.

          28. The Mortgagee snail submit, 15 days prior to initial/final endorsement, evidence that a qommitment has
              been received for a permanent loan, or other fum written assurance demonstrating that permanent financing
              will be available at the rate shown in the firm commitment application. The form of assurance must
              ~ddress, but is not limited to the: {I) source offinancing, {2) term, (3) interest rate, (4) extension
              provisions, (5) dates for delivery of the permanent mortgage, and (6) any conditions that are, will be part
              of, or will impact on the permanent financing arrangements.

         29. Prior to final endorsement, the Mortgagee must provide the Field Office with: (1) Form FHA-2455,
              Request for Endorsement of Credit Instrument Certificate of Mortgagee, Mortgagor and General
              Contractor, and (2) a certified loan closing statement signed by the mortgagee. The statement must also
              itemize the disbursement of mortgage proceeds and mortgagor's cash contribution, if any. The statement
              regarding the disbursements must be specific and list the amounts to be paid to satisfy the mortgagor's
              obligations for: (1) existing or other indebtedness in a refinancing transaction, (2) repairs, {3) discounts, (4}
              financing fees, (5) legal expenses, (6) organizational expenses, (7) title and recording costs, and (8) any
              mortgagee required escrows fur GNMA, taxes, or insurance.

         30. The owner must provide certification that the property is in compliance with statutory and regulatory
             requirements, Including but not limited to concerns associated with lead-based paint, asbestos-containing
             materials, and that smoke detectors are installed and fully functional for each living unit.

         31. A cost certification must be submitted, on Form 2205-A, for review 15 days prior to initial/final
             endorsement. It must include total actual costs incurred in the acquisition or refinancing of the property
              aiong with receipts or other support for these costs.

         32. lfany portion of the indebtedness will be forgiven, verification from the appropriate lender(s) must
             accompany the plan..

         33. The sponsor must notify the Project Management Division when work on repairs items is to begiR and
             advise if any of the repairs made prior to initial/final endorsement. Also, the sponsor must notify the
             Project Management Division  . when all repairs have been completed to arrange for a final .inspection.
         34. Prior to endorsement of the mortgage, the mortgagor shall submit an inspection report by a certified pest
             control company stating that there is no damage by wood destroying organisms or infestation of the
             property.

         35. The composition of the mortgagor entity is:
    l
    I.
             Mortgagor: Overlook Gardens Properties, LLC (100%)
             Sun Valley Properties, LLP (Managing Member - 100% Owner of Mortgagor)
             Charles A. Gower (50% Owner of Managing Member)
             Kels~y L. Kennon (50% Owner of Managing Member)


             *Charles A. Gower and Kelsey L. Kennon, have been identified to execute Section 50 of the Regulatory
              Agreement in their individual capacity.

         36. The HUD Exam fee is $16,560

         37. The Borrower must submit an updated, certified rent roll° detailing the occupancy level at the project. The
             rent roll must be dated no more than .30 days prior to endorsement. ff HUD determines ·that the updated
             rent roll shows significant change in occupancy from that submitted at time of application aod that was
             assumed in loan approval, this Commitment shall be of no force or effect and will be cancelled by HUD.



                                                                            Commitment to Insure Upon Completion Amendment No. I
                                                                               ·                      Overlook Gardens Apartments
                                                                                                            Project No: 061-11283
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        38. Any loans and/or accounts payable for project operating expense.s will be required to be paid in full before
            closing or be converted to a "Surplus Cash" note at closing (including any accrued interest). (Surplus Cash
            Notes may be established for payables to a related entity only) ·

        39. At the time of initial/final endorsement the Mortgagee and HUD will sign a rider to the Mortgagee's
l           Certificate that states the following:

                 (a) The Mortgagee must obtain a new PCNA every ten (10) years, which covers the next ten (IO} ·
                     years or the remaining term of the mortgage plus two (2) years.

                 (b) Replacement Reserve funds may be used to pay for the additional PCNA.

    Special Conditions:

        40. The Borrower must submit an updated, certified rent roll detailing the occupancy level at the project. The
            rent roll must be dated no more than 30 days prior to endorsement. IfHUD determines that the updated
            rent rolls shows a significant change in occupancy from that submitted at the time of application and that
            was assumed in the loan approval, then this Commitment shall be of no force or effect and will be
            cancelled by HUD.

        41. Fifty per cent (50%) of any cash out proceeds after funding transaction costs, including the assurance of
            completion requirements, must be held in escrow by the Mortgagee until the required non-critical repairs
            are completed and HUD approves the release.




                                             {Sign.atures on Next Page]




                                                                       Commitment to Insure Upon Completion Amendment No. I
                                                                                                 Overlook Gardens Apartme11ts
                                                                                                        Project No: 061-11283
                                                                                                                   611' "'# ~
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        This commitment and exhibits referred to herein together with the applicable Federal Housing
Administration Regulations constitute the entire agreement between us, and a~ptance of the terms hereof ls
evidenced by the signature and seals of the Mortgagor and Mortgagee upon the lines provided therefore below.


                                Secretary of Housing and Urban Deyelopment
                                    By: Federal Housing Commissioner


                                                         ~~                          Authorized Agent          .

                                                             Linda F. Preston
                                                             Director, Project Management
                                                              Atlanta Multifamily Hub


                                                                                         <r_J_~___,__f..3
                                                             Dated __,_/-r--,/....._/"'---/
                                                                                 r          1
                                                                                                       _ __
The above commitment   to insure is hereby acknowledged by the undersigned, and we hereby agree to be bowid by
its terms.


                                           Overlook Gardens Properties, LLC
                                                                    Mortgagor


                                           BY:---------------------~
                                                             Dated _ _ _ _ _ _ _ _ _ _ _ _ _ __


                                           Red Mortgage Capital, LLC
                                                                   Mortgagee




                                                             Dated _ _ _ _ _ _ _ _ _ _ _ _ _ __




                                                                    Commltment to Insure Upon Completion Amendment No. I
                                                                                              Overlook Gardens Apartments
                                                                                                     Project No: 061-11283
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      . FHA-~'#OG1··112~
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        -MOR'fGAGOR
l       auBaOOK GA:RDS'tS PROP!.~Tres. u.c

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      . A Georgia Jimltod liab.ftlty pa:rtngrah.ip
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        ~Et> MORTGAGE CAPITAL. L.LC




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                                                NON-CRITICALREPAIRS (12-MONni PROPE RTY CONDITION)
                                                                   MULTt-F A MILY APARTMEITTS

             Inspection Dote: Aptl 29. 2013 ond Apr\I 30. 2013                                                          Gtoss $q.Jo<e FOO!Og8:          203.827
                        FToject: o-look Gardens                                                                                     Yeot Built.           W88
                       Addross: 1400 Gray Highway                                                                 Numbe1 of Por'<lng Spaces:              368
                     Oly. Stote: Macon. GA 31211                                                                           Number Of lJtits:               184




           A board~ observed to be comng loOle at the top ot the stotrs near apartment# 1213.
3.2.3   1
         · Secun the board In loce ts recommended.
                                                                                                                 Each         s        10.00      $     10.00

           Bore sol was obseived ot the plcnlc pavt!Aon. the north side of BuUdlng 1o. the northeast
3.2.6   2.   sicki
               of Building 3 and the south side of Building 10. Estob!bhlng growth in th&e 01eos ts          3   Each ·       s       500.00      s   1.500.00
                   e       0         r I
             Tre8' were observed to be ovemonglng or touchilg '81ect buildings and debris was
          . observed to be collecting In the gutters. The select areas o re Bulldlng 12 and the areas near
3.2.6   3
            apartments 11: 915. :I: 1005. # 1114and11: 1214. Cuttlng bock the trees ls recommended to
                                                                                                             5   Each         s       500.00      $   2.500.00
               event future moisture dome e.
           The concrete retaining wolf In front of Apartment t: ~ was observed to be seperoling ftom
3.2.6   4                                                                                                        Eoch         $     1.000.00      $   1.000.00·
         • the stoifs. Refutbisting the damaged oreo Is recommended.

        SA      c1ock ,WO$ observed In the concrete pool declc near the gate entrance. Repairing the
3.2.7
            · damaged oreo to. prevent Mute damage Is recommended.
                                                                                                                 Each         $       300.00      s    300.00

           Oomoged $idJng wos observed at the entJy door to opottment # 615. Damaged siding was
3.3.3   6. also observed at the south side ot Sulldlng 1. west side of Bulldlng 3 ond near apartments#       5   Each         $       140.00      $    700.00
                        *
           416 ond 804. Repalmg the domoged aiding Is recommended.
            • Exteoor ci1culotio n vents were .observed to be damaged outside ot apartment # 102.
3.3.3   7
              Re c       the domo ed vents is recommended.
                                                                                                             2   Each         $        17.50      s     35.00

              Damaged fascia was observed ot the west side of Building 12 ond near o~rtment • 706.
3.3.3   8                                                                                                    2   Each         $       175.00      $    350.00
            · Replacing the damaged areas of foscio Is reconvnencled.
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                                                 NON-CRlTICAL REPAIRS ( 12-MONTH PROPERTY CONDmO N)
                                                                   MULTl·FAMILY APARTM&:NTS

              Inspection Dole: Aprl 29, ~13 ond Aprl 30, 2013                                                       · G<= Square Footage:           203,827
                       Ploject: O\le<1oo1( Gordens                                                                                YoorSU!lt:           1988
                     Address: 1400 Groy Highway                                                                   Number of Pol1dng Spaces:             368
                   aty, stole: Macon. GA 31211                                                                              ""-""bet of LWts:           1114




         Q.  The soffit at the southwest comer of Building 6 wos observed to be not &ecured. Secumg
3.3.3
             the soffit In lace is recommended.
                                                                                                                 Each       s         50.00     s    50.00
             Oeterioloted or rotted wood trim wos observed on 1he corner of the buidings near the
3.3.3   10. pa1ios of oportment 1t·704 ond :JI: 1012 as wen cs the window of oportment#912. Replodng         2   Each       s       165.00      s   330.00
                 d           0         w      eco         ed.
           . The bolconles ot the rear of BuUdlng 9 were .all oblerved with deteriorating point. Repelling
3.3.3   11                                                                                                   4   Each       $        115.00     $   460.00
             lhe bolconle.s Is recomnended.
            The soffit one! gutte1 ct oportment # 110 were observed to be damaged Ond not attached
3.3.4   12
          · to the roof. Repairing the damaged area Is recommended.
                                                                                                                 Each       $       150.00      s   150.00

               ~ diyer vents near the · patio of aii:artment # 1211 were observed to be Clogged.
3.4.3   13
             · Cleaning the vents Is recommended to oUow for the p roper air flow for ventffloffon.
                                                                                                             2   Each       $         50.00     s   100.00

            A open penetrotion In me wol wos observed around the piping thot. runs from !he hot
3.7.2   14
          • water heater in oportment # 1001 . Seo Ung the open penetration Is recommended.                      Each       s         35.00     s    35.00

              The celllrQs in the bolhrooms ob6ve the showe11 In apartments# 1009 and# 404 were
              observed with delerioroting point that was observed to be peeling off of the cemng.lhe
3.7.2   15
             · celings obove the olr handle11 In apartments # 1203 and :JI: 812 were obseNed to be           5   Each       $       100.00      s   500.00
               damaged. Repairing those select damaged areas II.recommended.
                 Case 4:17-cv-00101-CDL Document 1-4 Filed 05/12/17 Page 13 of 88




                                                   NON-CRITICAJ..REPAIRS Ct 2-MONTH PROPERTY CON DITION)
                                                                       M Ul..Tl·FAMJL.Y APARTMENTS


                Inspection Dote: Apel 'B, 2013 and Apjt 30. 2013                                                                           GIO$S Square foofoge:                 203,82'7
                          P1cjed: ~ GoJdens                                                                                                          Yealllufl:                     1983
                         Address: 1400 Gn:iy Hghway                                                                                  Numbel al Palklng Space$:                        368
                       City. State: Macon. GA 31211                                                                                               Number of UnilJ:                    184


                                                                                                                                                                     ..               ,
SECT                                                                                                                                                                      ·.'TQ:tAL
                 A hole wos ob$eived 11'1 the Gypsum Woll Boord (GWB) of apartment # 80b In the dining
3.7.2        16. oreo ond domoged GWBIn l he fomlly room near the kitchen In apartment# 404. Repo~lng                     2        Eoc/1          $       175.00          S      350.00
                 l he doma"'~ '""'""''of \"A"''
                 Exposed wiring was obseived on the east side of ilulldlng 4. Enck:nlng the exposed wiring Is
3.2.8        17. required to ollevlote ony ful\Jre lssu8$. No cost hes been ouocloted ond the 1epoir should               1        Each           $          •                 No Cost
                 be performed by tile local p10\1d&r•
        ..        .. .. "   '·   "O~ERPROPOSEO IMPROVEJ.t.ENTSAND U P.GRADES                                    .. ... ..
                                                                                                                      ;
                                                                                                                              -
                 The pioperty IS going to hOVe work performed ln the ospllolt potkl'lg lot lhOt lneldes; egh
             IS. (8) areas of po!Ctlng ondseolcoo1"'g/1e-striping. Macon Asphalt Paving provided on
3.2A                                                                                                                      1       L~SUm           $    18,400.00          S   18.400.00
                 estimate to complete the ~ Please see the esllmote located In the Exhibit 11.9 of this
                renort tor rl<>tans •
                The owne< hos elected to make repairs t o select o reos of roofing. Aton Fronk Commercial
               • Rooffng submitted a bid to pefform the w dr1<ond hhOs beeoscheduJed o t ocostof S J,753
3.3.4        19                                                                                                                   LumpSum         $                            No Cost
                 per a rea • The rooting ropolrs hove been fund ed ond no cost llos been associated with this

                                                                                                                                     .....;_. :          l9TAL:      ~        26, no.oo
        Com hove been provided by u~ng RS Means Building Construc11Qn Cost Doto
        • Owner Prol/lded Coit. which 03G tlnds reasonable
                 Case 4:17-cv-00101-CDL Document 1-4 Filed 05/12/17 Page 14 of 88




                                                                CRmCAL REPAIRS (IMMEDIAT E NEEDS)
                                                                      M l11.TrFAMILY AP.A.RTMEHTB


            Inspection Dote: Ap<lt 29, 2013 ond Ap1i 30. 2013                                                              Gross SQuoro Footage:          203.827
                     Project: Ovel1oolc Go•deos                                                                                        Year~                1988
                    Address: 1400 Gray Hlghwoy                                                                       Number of Porlclng Spaces:              368
                  Qty. Stole: Mocon. GA 31211                                                                                   Nu~oflk'ilts:                184




            The property does not feature GA proteciion Jn the kitchens of the apartments. During the
            lnspeclion a select few of the baltvooms hod GR protected outlets. The lnstolotton of GR
3.4.4   1· protected outte1s lo the 1dtcheru ond bottvooms b requited. A cost hos been based on a             184   Each         s       70.00         12,880.00

             per unit basis to fix the OU!len where there Is no protection.

             Dwelng urlts contain hOrd'....,ired smoke detectcm located \.\ithln the immediate vlclntty of
             the sleeping areas. Per HUD MAP Guld.elfnes: according to Ufa SOieiy Code (NFPA 101).
             poragroph 31.3.4.5.1. smoke alarms must be instored outside fN&ry sleeping area lo the
             Immediate Vk:lntty of the bedrooms and on oQ levels of the dwelling ur-Ot. Including
             basements. In addition to the NFPA requirements. 1he regulation In 24 CFR 200.76 requires
             that smoke ~tectots must also be Installed inside each sleeping area; tharefore, the
             insta11011on of compliant smoke detectors within oil bedrooms b requited. The smoke

3.6.2   2     ::=eC:         ~~=i;o:tu:edo~=::t~::~~ ~:~=:: =~:1~~~:
              temper-resistant; the ceQs cannot be used In any other toy or appl'.once; the cells must
                                                                                                              368   Eoch         $        35.00    $   12.880.00


              tiove a ten-yeor Ille: the smoke detector moy hove o manual sllenci'lg device to clear
            "unwonted aiarms such as cooking smoke. For the pup ose of this report we hove budgeted
              battery powered smoke detectois. aUowoble by the HUD MAP Guldelnes. It is
              recommended to contact the IOcol munlclpollfy to determine if battery'()pero ted smoke
             'detectOIS ore a llowable. It further cloriflcotton Is needed regording smoke detector
              compllonce, please contact the locd reviewing HUD office.
              Ught globes or ftxtures were observed to be mlMlng and leaving the b ulbs exposed In the
            . bedroom of apartment # 103 and the bathroom end Jol.Wldry room of aportmont 403.
3.7.2   3
              Installing the protective covering Is required in order to comply with the Notional 8ectricol
                                                                                                               3    Eoch         s       ·20.00    s      60.00


           A t~p hm.ord wos observed o1 the concrete sidewort In front of apartment # 1204.
3.2.5   4
         · Repairing the domoged oreo ts required to olle viote the trip hozorcl.
                                                                                                              .1    Each         s       185.00    s      185.00
              Case 4:17-cv-00101-CDL Document 1-4 Filed 05/12/17 Page 15 of 88




                                                              CRrrlCAL REPAIRS (lMMEOIATE N'EEOS}
                                                                    MULTI-FAMILY A,PAR'l'MENTS

           lnspec1lon Dote: Ap<l 29. 2013 ond Ap<t 30. 2013                                                        Gross Square foologe:        203.827
                   Project: overlook Gardens                                                                                   YeorBullt.         1988
                  Addreis; 1400 Groy Highway                                                                 Number of Polki'lg Spaces:             368
                01y. State: Mocon. GA 31211                                                                           N\#nberofl.Jrits:             184




            The office / pool buBding features fwo (2) restrooms. The' Men's room features cleor floor
            spoco at the fixtures. the appropriate grab bars at the toilet and o roll under acc:e'4lble
            sink. However. the sink does not hove levered hordwore or scold and abrolk>n protectton
            at the exposed plumblng pipes. The Women's room feo!ures the clear space at the flxrures.
7.0     5                                                                                                  LumpSum       $       820.00     $   820.00
          · However• .the Women's occesslble toDet was rrls.ilng the required grab bars. levered
            hardware was missing at the sink and scald and abrasion protection was rnbsWig at the
            exposed si1k plumbing. Correcting the noted delclencies Is requited In order to
            with Amellcans with Disoblitles Act Accesslbillties Q.ildellnes (ADAAG).
           Based upon the three hundred sixty eight (368) standard parking spaces ovollable at the
           me, eight (8) hondicopped accessible parking $pOC&$ lod\Jslve of one (1) van accessible
            space are required bY the Americans wtth Dbobfities Act Accessibility Guidelines CAOAAG).
            The propeny currently features eight (8) non-compliant handicapped parlclng spoct» and
            two (2) compliant handicapped porklng spaces located at llui'lding 2. Some of the
            designated pprklng spoc8$ currentty feature vetflcal signoge and pavement morlclngs;
            however, do not feature th~ required access al$'es and curb access at each location.
            Standard hon.d lcopped spaces requlre a 60" wide access aisles and vertical and hortzontal
7.0     6                                                                                                   Each         $       400.00     $   400.00
          · identiflcotlo11. Von occes.ilble hond'icopped spoc8$ req.ire o 96" w1de access olsle.
            vertical signoge Identifying the Spoc9 as voo accessible, and horizontol ldentilicolion. The
            designated hondlcopped Parking spaces should be located at the closest accessible route
            to the building entrances and two (2) spaces may shore a single ~ess aisle. The prope
            does not recei\le federal funding and does not feature any handicapped deslgnot
            dWlll1lng units; therefore. D3G only recommends ths lnstonotton of one (1) compliant -Van
            Accessible" space tnsfolled at the office building ond the non-compUont spaces should be
            labeled as "Reserved".




      Costs hove been provided by using RS Means Building Construction Cost Doto
            Case 4:17-cv-00101-CDL Document 1-4 Filed 05/12/17 Page 16 of 88




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                                                                                 REPLACEMENT RUEAVE ANAJ..YSIS l"VNDING S CHSDULE




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                                              Case 4:17-cv-00101-CDL Document 1-4 Filed 05/12/17 Page 17 of 88
.
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i.
I




    I
                                                                                                                      U.S. Department <if Housing and Urban Development
                     Multifamily Summary
(                    Appraisal Report
                                                                                                                      Office of Housing
                                                                                                                      Federal Housing Commissioner
                                                                                                                                                                        OMS Apprvval No. 2502.0029
                                                                                                                                                                                  (e1q1. 10/3112012)

                    This fOllll ls tn compliance wUh the requirements orthe Unlfonn Standards of Professional App!alaal Pracllce for wrltten
                    reports. except where the JIJl1adlcllonal Exception Is llM>l<Ad to al!ow for minor devla1lons, as noted throughout.
                    Additional technical dlrec:llon fs contained In Jtl& HUD Handbooks rererencad Jn the lower hi oxner.
                    Applle•tlon Procnslng Stag•:                        SAMA                    0      Feasiblllty (Rehab)                                 J     Fkm
                    Property R19hts APPralstd:                  0   fee Simple                  0      Leasehold
                    P.fo ect ame

    [                Overlook Gardens
                    PurpoH,        This appraisal evaluates tho subject property as secur1ty for a long-torm lnsurod mortgage. lnduded In Ule appmisa (consullation for Seci on 221) are Ille

        I           analyses ol market need, IOcation, earning capacity, exp911ses, laxes, and warranted cost of the property.
                    Scope.      The APpralser has developed, end hereunder report&, oonc.lusions wt\h respect to: feaslblli\y; suitablGty of Improvements: extent, quality, and duraUon of eamlng




        I
                    eapadty: the value of rut estate proposod of e><istfng as security for a long-term mortgage; and several other facion which have a bearing on the economk: soundness
                    of the aub!Od property,



        I                             1605                                                           Clinton Road                                                                   Macon
                     4a.    ensus ract o.

        l            0
                                  0110.00
                    7. Type Cf Pfoled
                            Elevator(s)           0
                                                       Hlghrlse
                                                      Walkup             0
                                                                               2·5 sty, Elev.
                                                                                Row House
                                                                                                       8. No. Storl&s 9a. Foundat'Orl
                                                                                                                           0     Slab on Grade         0   full Basement
                                                                                                                                                                                  91>. Basement Floor.
                                                                                                                                                                                    0     Sbuctural Slab
                            Detached -            0   Seml-Detached            .Town House                   2             0     Partial Basement      0   crawl Space              0       Slab on Grade
                    11\.                  11. Number of Untts     12. No. of       1Ja. Lisi Access()()' Bldgs. and ~'et
                     D
        \   i
                     0
                            Proposed
                            ExlsUng
                                           Revenue

                                            184
                                                      Noo-Rev

                                                         0
                                                                      Bldgs.

                                                                     12                               Office I Poot Buildin                                                           1 350 SF
        r   I
                    131>. Usl Remialion Fadlltles and Area
                    Swimming Pool                                                                       Playground
                    Volley Ball Court                                                                   Car Wash Station
            1       Picnic Pavuron
                    13c. Nelghborllood Oesa1ptlon
                    LoeaUon                                     0    Urban             0    suburban             D   Rural               Present Land Usi_ _s_o % 1 Family           _ _ % 2 lo 4 Family
                    aunt Up           0Fully Developed          11) . 0yer75%          0    25%to75%             0   Under25%                            _ _1_5 %MiAllfamlly         _ _ %Condo/Coop

                1   Growth Rale
                    Property Values
                                                                0
                                                                0
                                                                      Rapid
                                                                      Increasing
                                                                                       0
                                                                                       D
                                                                                            Steady
                                                                                        Stabte
                                                                                                                 0
                                                                                                                 0
                                                                                                                     Slow
                                                                                                                     Declining
                                                                                                                                                         _ _2_5 % Commer.
                                                                                                                                                                    6 %Va<:a11t
                                                                                                                                                                                     _ _6 % Industrial

                    Oemand/Supply                               0     Shortage         0In Balance               0   oversupply          Change In Use     0     Not Likely   0   Ulcely        0    Taking Place
                    Roni Controti                               0     Yes              @No                       0   Likely                                    From                        to
                                                                                                                                         Predominant
                                                                                                                                         O«upaney          0      OWner       0 .Tenant ~%Vacant
                    Description cl Nelghborflood: (Nole: Race and racial ccmposllloo of the nelgllbOltiood an< not appral1al rae1on.) (Oesalbe the bo\marias Of 1110 nelghboltlood aod tho&e faClol'$,
                    favorable Of unlevorable, thal affect merbtabllily, lnctudlng neighborhood ~ability, appeal, property conditions, vacancies. rant eonlrol, etc.)
                    The subJeci ls located in the eastern portion of Macon. The property Is within a retail node and adjacent to significant residential and
                    residential support area that includes a Wal-Mart, neighborhood retail and a high school. Rental apartments and single famlly homes abut
                    a portion of1he subject site. The neighborhood Is moderate income In nature.                                                    ·

                    Site lnform•Uon
                    14. mena ons


                    15b. Z ·      Com lance                                                                       Legal nonconfonnlng (Grandfathered use)                                           No Zoning


                    1Sd. tntendlld M/F Ute (•ummllllte: e.g •• Marl<et Rent: HI· Med - lo-End; Rent Subsidized; Rent Resltlcled with or wlthou1 Subsld'I; Appltc:able Percentages)
                    Market rent medium


                    16&. Yr. Bult 11Sb.                                   J    convenUonally aur.t      17a. Struclural System          17b. Floor S~em 170. Ex!enor Finish       18. Healing AIC System
                           1986                                          0     Components                      Wood Frame                 Wood Joist           Vinyl lap Siding
                                                                                                                                                                                  Heal
                                                                                                                                                                                  NC
                                                                                                                                                                                                       llE
                                                                                                                                                                                                       VE
                                                                                                                                                                                                     orm
                    Previous edlUons are obsolete                                                      Page1 of8                                                                                       ref Handbook 4465.1




                                    Trever M. Smllh,.Managing Dfroclor            Paul C. Martin, Associate UndetWr1ter
                       Case 4:17-cv-00101-CDL Document 1-4 Filed 05/12/17 Page 18 of 88




                                                                                                                                                                    Overlook Gardens



                       12/11/1997
              24a. Relallonshlp (Business, Personal, or Othel')    24b.       Has the Sl/hject Property been 10ld in the pasts yearS'?
                   Between Seier and Buyer
1                                     NA
I
              25. Utllllle$      Pubic Communlly . Olslanee from S~e          26. Unusual Site Feat\lfeS
                                                                              0           0 Fiiis       0                        0                  0                     0
                                ~          B                       ~
                    Water                                                          CUts                      Rock Fonnatlons              Erosion        Poor Drainage          None
                    Sewers                                                    0    High Water Table     0    Retaining Walls     0       ·Off Site Improvements
                                                                              0    Other specify
               Section c ·Estimate of Income (Attach forms HUD-92273. 92264-T, as applicable)
                27.    No. of Each        RentabJe Living Area.                                                                                Unit Rent                 Total Monthly
                                                                             Composition of Units
1                   familY l\toe Unit            (SQ.ft.)                                                                                      per Mo. ($)               Unit Rent($)
    li         (a)          48                     733                              1 BR        1                         Bath                    520                          24,960
               (b)          28                     971                              2 BR        1                         Bath                    570                          15,960
               (C)          so·                   1.094                             2 BR        2                         Bath                    620                          37,200
               (d)          48                    1,255                             3 BR        2                         Bath                    715                          34,320
               !el           0                       0                              0 BR        0                         Bath                     0                                   0
               (fl           0                       0                              0 BR        0                         Bath                     o·                                  0
               /al           0                       0                              0 BR        0                         Bath                     0                                   0
    1I
               (h)           0                       0                              0 BR        0                         Bath                     0                                   0
               (l)           0                       0                              0 BR       .o                         Bath                     0                                0
              .!t"lTnt..1 i:atfmated Rentals for All Famllv Units                                                                                                   $         112,440

              20N8al0eadt Parking Spaces     Offstreet Parking and Other Non-Commercial Ancillal'Y Income (Not Included In Unit Rent)
     1                          0            Open Spaces
                                             Covered Spaces
                                                                    368
                                                                      0
                                                                               @
                                                                               @
                                                                                        $
                                                                                        $              .
                                                                                                            per month=$
                                                                                                                month=$
                                                                                                                            -       0
                                                                                                                                  per
                                                                                                                                    0
                                368          Laundry                  0     sq. ~ or Living Units @ __ - _per month "' $            0
                                             Utility Reim             1        ~                  4,600.00 per month=$          4,600
              Total Spaces      368          Misc Revenve             1        ~                  2.760.00 per month=$          2,760
                                             Total Monthly Anclllarv Income                                                                                          $           7360
              30. Commercial Income (Attach Documentation)
              Area Ground Level       O      sq.~@             S_ _ _ per sq. ft/month=           $ _ _o_ ::: Total Monthly
         1J   Other Levels            o      sq. ~ @           s            per sq. ff/month = $         O      Commercial Income                                   $                  0
              31 Total Estimated Monthly Gross Income at 100 Percent Occupancy                                                                                           $ 119,800
              32. Total Annual Rent otem 6 tlmos 12 months\                                                                                                              $ 1 4 37,600
              33. Gross floor Area                              ,34. Net Kentable Residentla1 Area                                       ,35. Net Rentable Commercial Area
                              203,827                             Sa.Fl                    188,252.                     So. Ft                         0                      SQ. FL
              36. Non-Revenue Producina Space
                     TVD8 of t:mPtOYee                              No. Rms                        ComPOslt1on of Unit                          Looation of Unit In ProJact
                                                                                                   .        BR .          Bath
                                                                                                   .        BR -          Bath
                                                                                                   -        BR .          Bath

              36a Personal Benefit Expense (PBE) (May produce addltional revenue and expenses to be considered above and below.)

                   Tenant Employee-Paid Utillties                  Type(s}                                                               Monthly Cost           $

                   Landlord Employer-Paid Utilltles                Type (s)                                                              Monthly Cost           $

                                                                                                                                                                rorm HU0.922~(8195)
              Prev!ou5 ed!nons are obsolete                                                  Page2ora                                                               rer Handl>ook~.1




                          Trever M. Smith, Managrn; Director                      Paul C. Martln, Associate Underwriter
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I



l                                                                                                                                                              OVerlook Gardens
        D. Amenities and Services Included In Rent Check and clrcle a ro rlate Items: lilt-In number where Indicated
.       S7s. Unit ArncnHifi                                            .                  370. Prq'oc:t Amenities
                                                                                                                                      ~ Community room(s) No.
                                                                                                                                           0

         ~
L            .Ranoes (EJK.)                 ~ Dlsposal/Compactor                               Gues;t room(s) No.



                                                                                                                                           ~
             Refrlg, (Ekr.}                 " Alr Cond"itionlng tcentral)                      Sa<Jt1a/Steam room(s) No.               ./ Swlnvnlng Pool{s) No.
             Miao Wave                      ., Dishwasher                                      Exercise room(s) No.        - --             Racquetball court(s) No.
             C.arpet                        ~ Window treatment (blinds)                        Tennis c.ourt(s)       No.                   Plcnk/Play area(s} No.             1          0
         ., BaJcony/Patlo                      Rreplace(s)                 No.                 l.a1M1dry FacJlitles (cOin)                  Project Security System(s) (Oesctibe)         O
    1   fZJ  LalJl!dty Jloolcup; (Jn units)    llpPE>r level Y.iulted celnng/Skyllght(S)       11tmZZleS/Commun1ty Whlrtpool(s)       No.  0
                                                                                                                                           0
    l   8    Wa"'1er/Dryer (In units)
             Other        . (Specify)
                                               Security System(s)          (Describe)          Other VoRey llaU court, common grilling are-a-s,-car
                                                                                                                                                - wa- sh station




    1
    I

        37c. Unit Rating                                             Good              A"!6f.     Fair                 Poor                37d. Project Rating                                Good   Aver.                      Poor
        Condition of Improvement
        Room Sizes and Layout
        Adequacy of Closets and Storage
                                                                                                                                           Location
                                                                                                                                           General Appearance
                                                                                                                                           Amenities & Rec. Facilities
                                                                                                                                                                                              § §

                                                                                                                                                                                              ~
        Kitchen Equip., Cabinets, Worxspace                                                                                                Density (units per acre)
        Plumbing ·Adequacy and Condition                                                                                                   UM Mix
        Electrical ·Adequacy and Condition                                                                                                 Quality of Construction (Matl. & finish)
        Soundproofing • Ad~acy and Condition                                                                                               Condition of Exterior
        lnsulatlorl ·Adequacy and Condition                                                                                                Condition of Interior
        Overall Livability                                                                                                                 Appeal to Market
        Appeal and Marketabnity                                                                                                            Soundproofing ·Vertical
                                                                                                                                           Soundproofing· Horizontal

        38. Services                                                                                                                                                          39. Special Assessments

        Gas:     0    Heat   §   Hot Water   §   Cooking
                                                                    §      ~ Condittoning
                                                                                                                                                                              a.      0  Prepayable  n
                                                                                                                                                                              b. Ptincipal Balance ""l
                                                                                                                                                                                                       Non-Prepayable

        Elec:
        Other:   B    Heat
                      Heat
                                 Hot Water
                                 Hot Water
                                                 CoolUng
                                                 Water
                                                                            AJT Concfltlonin~O Lights/etc.
                                                                            Othell'rash
                                                                                                                                                                              c. Annual Payment
                                                                                                                                                                              d. Remaining Term
                                                                                                                                                                                                     $    -
                                                                                                                                                                                                          _ __ years


        E. Estimate of Annual Expense
        Administrative                                                                                                                     Maintenance
        1. Advertising                                 $              30,228                                                               14. Decorating                              $           47.231
        2. Management                                  $              53,479                                                               15. Repairs                                 4          141,692
        3. Administrative                              $              34,951                                                               18. Exterminating                           $            4,723
        4. Total Administrative                                                             $           118,658                            17. Insurance                               $           30,228
                                                                                                                                           18. Ground Expense                          $           51,009
                                                                                                                                           19. Other                                   $            6,668
        Operating                                                                                                                          20. Total Maintenance                                                $ _ _ _2_so....._ss_1_
        5. 8evator Maintenence Exp.               $        _ _ _ _o_                                                                       21. Replacement Reserve (0.006 x total structures Line G41)
        6.   Fuel- Healing and Domestic Hot Wate1 $        _ _ __..0-.                                                                         or (0.004 x MTG. for Rehab)                                                         200.___
                                                                                                                                                                                                                $ _ _...s"""'s......
        7.   Lighting and Misc. Power             $              34
                                                           _ _ .........._95;;.,1;..                                                       22. Total Operating Expense                                          $ _ _7;...:;6-"'3''"'-04.;..;;9_
        8.   Water                                $             58,566
        9.   Gas ·                                $        --~-0-                                                                          Taxes
        10.   Garbage and Trash Removal                $ _ __17;.:.,00.;.;;.;;3-..
        11.   Payroll                                  $ _ _1_s_.s._12_0_                                                                  23. Rear Estate: Est. Assessed Value           $ _ _ _ _.....;o_
        12.   Other                                    $ _ _ __..o_                                                                          at$          0.00 per1000                                          $ _ _ _7_5•._44_0_
        13.   Total Operating                                                               $ _     _ 3;..;0..;.;8•:.;.64.;..;;0;...       24. Persooal Prop. Est. Assessed Value         S________o_
                                                                                                                                             at$          o.oo per 1000                                         s _,______o_
                                                                                                                                           25. Employee Payroll Tax                                             s ___..-30.-,""22""8'-
                                                                                                                                           26. Other                                                            $ _ _ _ _...;o;..
                                                                                                                                           27. Other                                                            $           O
                                                                                                                                           28. Total Taxes                                                      $- - 1-0-5,-66_11_
                                                                                                                                           29. Total Expenses (Attach form HUD-92274, as necessary)             $ _ _..;.8..;.68.-•.;...71""'7-

                                                                                                                                                                                                             IQffil wo               \OIO~/

        Previous editions ar. obsolete                                                                                                 Page3 of 8                                                               ref Handbook 4466.1




                             Trever M. smilh, Managing Dlcector                                                             Pal.II C. Martin, Associate Underwriter
                               Case 4:17-cv-00101-CDL Document 1-4 Filed ..,05/12/17 Page 20 of 88                                 __ __       ,_,   ___________

I            F. Income Computatlo1111
             30a. Estimated Residential Project lneome (Line C28 x 12)
                b. Estimated Anci~ary Project Income (Uno C29 x 12)
                                                                                   '
                                                                                   $
                                                                                            1,$49,280
                                                                                               881320
                                                                                                                       c. effective <lrosa Commercial lnc;eme
                                                                                                                          (Una 32a. x Line 32b.)
                                                                                                                                                                                                Ove~OOk Gardena




                                                                                                                                                                                                                0

\               c. R~ential and Anclary Occupancy Percentage•
                d. EffecUve Gros11 Resldenllal and Ancllary Income
                   (Una 30c. x (Une 30a. plus Line ~Ob.))                          $        1.338,968
                                                                                                     93%               d. Total Commercial Project expenses
                                                                                                                          (From Attached Analysis)
                                                                                                                     33, Nat Commercial Income to Project
                                                                                                                                                                                                                0

                e. Total Re&klenttol and Anelllaiy Project Expenus                                                        (line 32e. minu• Une 32d.)                                                         0
                   (UneE29)                                                        $           888.717               34. Total Pro]oet Net fnc;emo (Line 31 plu• Une 33)                               468.2$1
             31 . Net Residential and Ancillary Income to Project                                                    35a. Residential and Ancfnary Pl'Qject Expense Ratio
                   (Une 30d. minus Una 30e.)                                       $           468,251                    (Un• E29 divided by Line 30d.)                                                 64.98~
             32a. Estimated Commercial Income (Line C30 x 12)                      $                 0               3Sb. Commercial Expense Ratio
                b. Commercial Occupancy • (80% Maximum)                                                                   (Line 32d. divided by 32c.)                                                       O.OOo/o
                   (See tlstru.etions)                                                               90%
                                                                                                                          • Vae:aN:t and eollecUon Jo$$ ratH and COIT9~ rasldentlal and commercial
                                                                                                                          occupanat percentages are analyied through mart<et data, but subject by JUrisdlc:llonal
                                                                                                                          Exception to ovaral HUD underwriting mandates.
        G. £3tlmated Ra lacamentCoat
                                                                                                                     Cartylng Cllar;q a. Financing
\       36a. Unusual land Improvements
          b. Oilier Larid Improvements
                                                           $
                                                           $      1,597.000
                                                                                                                     53. Interest
                                                                                                                               on      $
                                                                                                                                           14     Mos. at ~
                                                                                                                                              5,620,000                  $     137,816
          c. Totll'Land lmprovtmants                                               $         1,697,000               54. T11Xes                                          $      20000

\       Structures
        37. Main Buildings                                 $     12,392,751
                                                                                                                     55. lnsura.nce
                                                                                                                     58. FHA I/Ilg . Ins. Prem. ( 1.00%
                                                                                                                                                                         $
                                                                                                                                                                         $
                                                                                                                                                                                10,00()
                                                                                                                                                                                55,.200
        38. Ac:csssory Buildings                           $        157,896                                          ST. FHA Exam. Fee            ( 0.30%                $      161560

(       39. Garages
        40. ·All Oth•r Building•
                                                           $
                                                           $
                                                                     72,631                                          58. FHA lnspec. Fee
                                                                                                                     59. Flnanclng Fee
                                                                                                                                                  ~ 0.50%
                                                                                                                                                  ( 2.00,..
                                                                                                                                                                         $
                                                                                                                                                                         $
                                                                                                                                                                                21.eoo
                                                                                                                                                                               110,400
        41. Total Structures                               #                       $       12.623,278                60. M1PO (N. P. only)        ( 0.00%                $            0

    l   42. General Requirements                                                   $       466,425.12                61. FNMAIGNlllA Fee
                                                                                                                     82. Titre & Recording
                                                                                                                                                  ( 1.60%                $
                                                                                                                                                                         $
                                                                                                                                                                                82.800
                                                                                                                                                                                35,000
        Ftea                                                                                                         63. Total Ca In Cha as & Flnancln                                        $         '96,376
        43. Bullder'e Gen. Overhead et         ~           $        293,734                                          Legat, o raanlutlon & Audit Fff
                                         at                                                                          64. Legal
        44. Builder'• Ptofit                   ~           $        881,202                                                                                              $      12,000
        4S. Arcll. Fee-Design            at    ~           $        328.338                                          85. Organization                                    $       8,000
        46. Ard:!. Fee • Supvr.          at    ~           $         82,481                                          66. CostCertllfcaUon AUdlt Feo                      $       8,000
        47. Bond Premium                                   $        158,616                                          67. Total Ltgal, Organtutlon & Audit Fen (64~6+66)                        $          281000
        48. Other Fees                                     $        317,233                                          88. Builder •nd Sponaor Profit and Rlsk                                   $     1.727.168
        49. Total Fees                                                             s__2....o_s-.1.e:..;;.02=-·       69. Consuftant Fee (N. P. only)                                          $                0
        50. Total AU lmprovemems                                                                                     70. Initial Deposit to Reseive for Replacement                           $                0
            Unos 38c. plus 41 pkl.s 42 plus 49)                                    $       18,748,306                71. Conttngency Reserve & Relocation Expen.9H
        51. Cost Per Gross Sq. Ft.                                                 $            82.17                     (Sec. 202 or Rehab only)                                             $               0
        52. Estimated Construetton TllM (Months)                                                   12                72. Total Elt. Otvalopment Coat (Exel. Of La/Id or
                                                                                                                          Off.site Cost) (50 plus 63 pftls 87 thru 71 minus depreelatton)      $ . 1819981849
                                                                                                                     73a. Wananted Prtee of Land J·14{S)(New Conatr)
             Note: Jurtsdlcttonal Excopuon: 1n HUD programs, land, and/or exisling                                         895,653 aq. ll O $         1.44       sq. ft. $   1.0001000 • saa noteat left
        lmptOVementa aro not valued for their "highest and beat use,• but Instead, for th11lr                        (3b. Af. la Property Value (Rehab onty)             $                • - no1e at left/below
        Intended muttifam~y use (Section J analy•I• below.) (Exa!ptlon: T111e II or VI                               73c. Off-Site \If needed, Rehab only)               $                • sao nole at left
        PreservaOon). Offslte Improvement• are asaumed completed In new construction                                 74. Toti! Eatlmated Replacement Coat of Project
        land valuations (See Line M17 for eatimated cost.) Unusual costs of site                                          (72 plus 73a or 73b and 73c)                                         $ 19,9981800
        preparatron are deducted frvm the 'Value of the Site FuOy Improved" to detennine
        "Waminted Price or Land Ful Im        ed."
        H. Remark•
        (Note: For Rehab only: Estimated Value of rand w!thouUmprovement.                     $
        Estimated Value of land and Improvements "M is• by Residulll Method, Lo,. After RohabllitatiOn Correlated Value minus line G 72 Cost of Rehabili1111Jon Improvements
        equalS $                             ; One G 73b I& the leaser of this residua/ amoun~ and the amount es~mated by Supplemental form HU0-92264 "As la".)

        I. Eatlmate of Ooaratlno Deflcit
             Periods             Gross Income                  Occ:uo. %               Effec. Gross                    Exoenses            Net Income              Debt Serv. Reqmt.                Deficlt
         1. 1st           $                                                    $                                 $                     $                       $                             $
        (              )Mos.                                                                          .                                                  .                                              0
            2. 2nd.            $                                              $                                  $                     $                       $                             $
        (              )Mos.                                                                          -                                                  .                                              0
        3. Tollll Operatlng Deflclt                                                                                                                                                         $
                                                                                                                                                                                            tonn t«.ID-m64 (8/06)
        Previous ed!t1<xls ere o~olelt                                                                               P1gt 4 of8                                                               rel Handbook 4485.1




                      Traver M. Smith, Managing OlrectQf                      Paul C. Martin, Associate Und.,rwrilllr
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                                                                                     88- - - - -



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!




ti      J. Project Site Analysis and Appraisal (See Chapter 2, Handbook 4465.1)

I                                                                                             0 Yes            0 No
        1.
        2.
        3.
              Is Location and Neighborhood acceptable?
              Is Site adequate In Size for proposed Project?
              Is Site Zoning pennlsslve tor Intended use?
                                                                                                  m
                                                                                                  Yes
                                                                                              " Yes
                                                                                                               ~ No
                                                                                                                     No
        4.    Are utilities available now to serve the Site?                                  " Yes                  No




I
        5.    Is there a Market at this locauon for the FacfHty at tile proposed Rents?           0
                                                                                                  Yes                No
        6.    0    Site acceptable for type of Project proposed under Section     FHA 223(2 (If chel:ked, aa::eptanc:e subject to quaificatlon.s lsted at bottom of page 6.)
        7.    0 Site not acceptable for reasons stated below.
              Date of Inspection           4/25/2013        Note: The Effecllve Oate of all land valuations Is the date of inspecilon.

                                                  Location of Project                                                                                  Size of Subject Site




I
        8. Val ue Fullv lmoroved                                                           Macon GA                                                              184 Units

                                           .        Comparable Sales
                                                      Address No 1
                                                   Wembly at Overlook
                                                                             Comparable Sales
                                                                               Address No2
                                                                              Rlverstone Park
                                                                                                 Comparable Safes
                                                                                                   Address No3
                                                                                                  Ansley VIiiage
                                                                                                                               Comparable Sates
                                                                                                                                 Address No4
                                                                                                                                                       Comparable Sales
                                                                                                                                                         Address No5

                                                   5486 Riverside Drive       3990 Rlverslone    6435 Zebulon Rd
        Date of Sale                                      Sep-11                  AU!J·11             Oct-05
        Sales Price                                    $1,583.434               $1,430,000          $1,952.845
    \   Size (SF)                                       1,070,269                986,634             592,416
    I   Number of Unlls
        Prlce Per SF
                                                         238.00
                                                          $1.-48
                                                                                  220.00
                                                                                   $1,45
                                                                                                      294.00
                                                                                                       $3.30
        Prlca Per Unit                                   $6653                    $6.500              $6.6-42
        Adiustmenls l°hl
             Time                                         . 0.00%                  0.00%                    0.00%
             Location                                     -20.00%                 ·20.00%                  -20.00%
             Zonina                                         0.00%                  0.00%                    0.00%
             Plottage                                       0.00%                  0.00%                     0.00%
              Demolition                                    0.00%                  0.00%                     0.00%
             Piiing, Etc.                                   0.00%                   0.00%                    0.00%
             other                                          0.00%                  0.00%                    0.00%
        Total Adlustment Factor                           ·20.00%                 ·20.00%                  ·20.00%
        Adiusled Per Unit Plice                            $5,322                  $5 200                   $5,31 4
        Indicated Value bV
         ComDarison                                      $979,334                 $956,600                $9n,1s1
                                                                                                               9. Value of Site Fully Improved $                  1,000,000
        10.                                         Value "As rs• No 1       Value "As Is" No 2       Value "As Is" No 3


        Date of Sale
        Sales Price
        Size Der So.Ft
        Price Per Sq.Ft.


        Adfustments 1'11>1
             Time
             Location
             Zonina
             Plottaaa
             Demolillon
             Plllna, Etc.
             Other
        Total Adlustment Factor
        Adiusted Sq.Ft. Price
        lndtcated Value bv
         Comparison
                                                                                                                11. Value of Site Fully Improved

        Previous editions are obsolete                                                                                                              form HUD-92264 (8/95)
                                                                                                                                                         refHandbook4465.1
                                                                                     'Page 5 of 8
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12. Acquisition Cost (Last Arms-Lenath Transaction)
Buyer                                                                Address

Seller                                                               Address

Date                                                                 Price
                                                                          $

Source
13. Other Costs:
     (1)    Legal Fees and Zoning Costs                                        $
     (2}    Recording and Trtle Fees                                           $
     (3)    lntereston Investment                                              $
      4     Other                                                              $
     (5)    Acqulsltlon Cost {From 12 above)                                   $
     (6}    Total Cost to Sponsor                                              $


!14, Value of Land and Cost Certlflcatlon
       (t)             Fair Market Value of land fully Improved (From 9 above)                                           $               1.000.000
       (2)             Deduct unusual items from Section G. item 36a.                                                    $                       0
       (3)             Wananted pr1ce of land My Improved (Replacement Cost items excluded) (Enter G·73)                 $               1,000,000
    For Cost Certification Purposes
      (3a)             Deduct cost of demo!. $                                 and required off ·sites$ - - - - - - -
                       to be paid by Mtgor. or b to be paid by Mtgor. or by special assessments                          $
       (4)             Estrmated of "As rs• by subtraction from Improved value                                           $               1,000,000
       (5)             Estimate of"As Is" by direct comparison with simRar unfmpr                        12              $
       (6)             "As Is" based on acquisition cost to sponsor (From 13 above)                                      $
       m .             Commissioner's estimated value of land "As Is" (The lesser of (4) or [5) above)"                  $                        0
 •wtiere Ian<! is pvrchased from \..PA or other Govommenlal •Lllholity tor $pocillC reuse, use !he lesser ot 4, 5, or 6.
I
K. Income Approach to Value
(1) Estimated Remaining Economic Life                                                                                        50            Years
(2)§Citallzation Rate Determined By (See Chapter 7. Handbook 4465.1):
              overall Rate From Comparable Pro]eots
  ·           Rate From Band of Investment
              Cash Fll>w to Equity
(32 Rate Selected                                                                                                                              6.75%
(4) Net Income (Line F 34) - Appraiser's Concluded Net Income for ValuaUon Purposes                                          $               468,251
!5l Capitalized VahJe {Line 4 divtded by Line 3)                                                                             $             6,900,000
(6) Value of Leased Fee {See Chapter 3. Handbook 4465.1)
Ground Rent $                               dlVlded by Cap Rate        6.75% equals Value of Leased Fee                      $
Remarks: (See Item 6 and 7 on page 5)
NOi used for criteria 3 Is based on appraler's concluded NOi of $466,251, whereas Criteria 5 NOi is based on the Lender's underwritten NOi of
$407,531. The difference In NOi is related to the Lander using a higher RfR of $630/unlt, versus the appraiser using a m~rket rate RfR of $300/Unlt.




Previous adiUOns are obsolete                                                                                                form HUD-92264 (8/95)
                                                                                                                                  ref Handbook 4465.1
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                     I   '




                                                                                                                                                                                                              0Vel1ook Gardens
     L Comparison Approach to Valu•
      7. The unde1'1gned has recrted three sales of properties most similar and proximate lo the subject property and has described and analyzed these In this analysis. If
      lliere Is a sf9nlllcant variation between the subject and comparable properties, the analysis Includes a donar adjustment reftactlng the market reacUon to those Items or
      an explanation supported by the market data. If a significant Item In the comparable property Is superior to, or more favorable than, the subject property, a minus(-)
      adjustment Is made, tnus reducing the Indicated value or the subject property. If a significant item in the comparable property Is llfetlor to, or less favorable than, the

1   . subject property, a plU$ (+)adjustment Is made, th~s increasing the Indicated valUe of !he subject property. •1(1) equal& the Sales Price divided by Gross Annual Rent!

                 Item                                   Subject                          Comparable Sale No. 1                           Comparable Sale No. 2                             Comparable Sale No. 3
                                                        Prooertv                            Pinnacle Place                                Camden SW&etwater                                Lodae at sandv SDrlnM
     Addren                                           1400 Gray Highway                    500 CaldweU ortve                             3355 SWeetwater Or!ve                              6925 Rosewell Road
                                                      Macon GA. 31211                       Henh•ibah, GA                                  Lawrenceville, GA                                    Attanta GA
     Proximity to subieet                   ~m..~~"--=-~~~
                                                                                                                                             u                   25.215.000 I-' Uni'. I I RJrn. $
     Sales Price
     Sales Price D8( GBA
     Gross annual rent
                                              $
                                                  $
                                                  $             1 437600
                                                                               '"
                                                                                $
                                                                                $
                                                                                    Unf.   l    Fum. $         4,332.500
                                                                                                                   37.08
                                                                                                                 886,785
                                                                                                                            "J
                                                                                                                              $
                                                                                                                              s
                                                                                                                                      Unf.        Furn.     $
                                                                                                                                                                      72.08 $
                                                                                                                                                                  3,234000     $
                                                                                                                                                                                                                      28,300,000
                                                                                                                                                                                                                             51.42
                                                                                                                                                                                                                        3,725,250
     Gross rent multioller 111•                                                                                     4.94                                               7.80                                                   7.60
     Sales Drice Der unit                      $                                $                                 36,521          $                                  81,867    $                                            68,471
     Sales. P<ice Der room                     $                                $                                  8.087      $                                      15,009    $                                            10,695
     Data souree                                                                                                   Broker                                             Broker                                                 Broker
                  Adlustmeni.                          Oescriotion                   Oescriotion.          +1-1 $ Adlust          Oesctirition                  +(.)$ Adlust       Oescr1Dtlon                       +(.) $ Adiust
     Sales or financing                                                                Cash to Seller                       Cash to Seller                                   cash to Seller
     concessions
     Date of sale/time                                                                        ADrll·11                                      November-12                                          Anril-12
     location                                                        Go<id                    Similar                                          Suoerior                  -25%                   Superior                    . -15%
     Sltelvlew                                                       Good                     Slmllar                                           Slmllar                                          Similar
     Desilln and aooeal                                            Good                      Averai:ie                                         Avera!le                                         AVNane
     Qualltv of construction                                       GOOd                      Averaae                                           Averaae                                          Average
     Year built                                                      1988                        1987                                              1999                  ·10%                      1987



                                                                                     --
     Condition                                                   Averaoe                      Similar                                          Suoetlor                  ·10".4                  Similar
     Gross Bulldlna Area                              203,827        Bo. ft.        118,200 . SQ.ft.                                   349.826   s . ft.                   -5%          650,360   s > ft.                    -10%
                                             No.        Roomco""4       No.  No.                    No.                     No.          Room count       No.                     No.     RoonacOIJCll       No.
                                             of                              of                                              of                                                   or
                                            Unb TOI.       Br    Ba.   Vee. UnllJ TOI.     Br   Ba. v...                    Unlit ToL        8r    Ill. vac:.                     U1lls Tot.   II<    IL    Vt1;.


     unit sreakdow!I
                                                                               t#                                                                                                 •14
    Basement desaloUon
    Functional utllitv
                                             '"                       NIA
                                                                     Good                       Similar
                                                                                                                            '°'
                                                                                                                                                      Similar                                            Similar
    Heatino/cootino                                              Electric                       SlmUar                                              SimDar                                               Simllar
    Parltino on/off site                                         On Site                        Similar                                             Slmllar                                              SimUar
    Profect amenities and fee                                    Tvoical                        Similar                                             Similar                                              Similar




                                          ......
    (if aoolleablel
    Other IAveraoe Unit Slzel                                   1.023 SF                        985SF                6%                           1,136 SF                                           1,137 SF


                                                                                                                                                                      40,-50]--
    Net Adiustment frotall                                                .                                                                                                                                                  -26%
    Adjusted sates pllCe of
    comoarables
    8. Indicated Value of Sales Comparison Af?f!<O!!C $
                                                                                                      $              5%. . $
                                                                                                                 38 347 .                                                934 . .                               $
                                                                                                                                                                                                                           43.~3


    Reconctl!lllon

                                              a.90
                             Capltelllation s_~  ..0,..,0_00...__                    SummaUons _ _ _ _ _o_ _ _ __                                               Comparison $ _ _.....1...,0...._..
                                                                                                                                                                                             0o... oo
                                                                                                                                                                                                    ...o,____

                       9. The market value (or replacement cost) of the property, as of t~e effective date of the appraisal, Is   6,900,000                 .. see note below
    •• Note: For Section 221 mortgage Insurance app1Jcauon processing, acceptance risk analysis produces a supportable replacement cost estimate, and the estimate renected
    here Is ihe replacement cost newtsummaUon approach result. In effect, such "appraisals" are In fact USPAP "consultations" concerning economicaJJY supportable cost Umits.
    For Section 207 and 22S processing, all three approaches 10 varue are Included In the appralsal, but the subJect property Is apjll'alsed for tts Intended multifamJJy uee, not
    necessarily Its "highest and ~st use.• The definition pro>Jlded In .USPAP for "marl<et value• Is generally ebserved, but see Handbook 4465.1, parag1aph 8.4, ror qua!lficatfons.

    Effective Oates: For new .construction or substantial rehabilitation proposals, . !he etrecHv!! date of 1he Improvements component cost estimation Is the line G53 month
    es tr mate added to the report and certlftcatlon date below. The land component Is valued as of the Inspection date. For Section 223, the effective date of the appraisal Is the same
    as of the Inspection date. For Section 223, the effective date of the appraisaJ·is the &ame as the rapoltl011 date, but assumes (hypolhe!fcally) the compleUon of au required
    repalr8/WOlk wrlte·up Items.

    Commenta on:
    1. Sales oompanson (lndud'ina reconcfbtlon of aaln<l!catots or value as to con'1stency and reJaUve strenglh and evalllat!on of the typical lnvestOIS'/pt1rchasera' motivation In that market).
    2. Analy~is of any current agreement of sale, option, or Ustlng of the sub!ect property and analysls of eny prior sale• of subJed .rid comparables within three years or the da!D of appraisal.



                                                                                                                                                                                                            O/l'll
    'rovlous edillDM are Ob$Olele                                                                           Paae7or8                                                                                          ref Handboolt 4485.1
                                    Case 4:17-cv-00101-CDL Document 1-4 Filed 05/12/17 Page 24 of 88




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                 Cost Not Altltt>ubbt. to ~lllng UH                                                                                    Tot.JI Eat. Coat of Olf..Stte Requlrtt"Mnte

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                 12. Commerclll
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                 H. Slan• ltlreo 1nd ~·relser Certltk&llon
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                 VOS<Ploce-                                  Date                    CO$I R9'/iewer                                                          10.fe
                 I certify 1hat to 1he best Of rny mcmeoge and belier.
                   o th8 s1'!ements ol ract conlalned In ltH report n llue and correc:l
                   o the reported anaJyses, opinions, and conelusfons are Umtted only by the reported assumptloos and nm111ng condtti0/1.$, and are my peisonal,
                       unbiased professional analyaes, aplniom, and conduSlona.
                   o I have no pment or prospedlve lnlerest ii the propetly !Mt Is Ille subjec:I of this report. and I have no personal Interest or Illa$ wlh respect
                      to !ho parties Involved.
                   o mt compeosatlon 1$ not ~ upan the 19po111ng ol a ptedetearined vabs or daed!on ii vabt Ula! t.r.lora the cause of ~ clenl, lhe
                      an10l.llt of the ¥alle estimate, tilt attainment of 11 slipulated re  12
                   o my ·~•. oplnlons, al1d condusions were devel<>ped, and lhls report ba$ been prepared. kl confonnfty wllh the Unlr«m Stanclatds of
                       Proresilonal Appnllul Prac&ce: HUO Hanc!boolt +465.1, The Valuation AnalYSI$ Handbook rllf Project Mort11age Insurance; HUD Handbook
                      4'480.1, Mullifamlly Underwrlllog Forms Catalog; and other appllcable HUD hand~ooks and Notices.
                   o I have made a personal Inspection ol the property that la Iha llbject Of this report.

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                   o no one provided slgnjflCllllt pro/8$Slonll lmlstance to the appraisers slgnlhg this report, except tor the Arci"ftectLir.11 and Englneertng, lll!d
                      Cost Estimation protesslonals signiOQ above. Then professlonaw estfmaUons of lhe subject propett)'s ~ons and "hatd" replacement
                      C0$1S hew been relied upon by Ille Appn!Mr am Aevlew Appraiser.




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         Supplement to
         Project Analysis
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                                                                                                                        Federal Housing C~
    !
         Secllon or 11Ce Nombef                 FHA 223(!) • Refinance
             0     VllliallOn T~I                     0    Condtu:xlal

        Privacy Act Notte•: The United States Department or Houslng and Urban Development, Federal Housing Admlnls!n!Uon, Is a11thorized to solicit !he lnformaUon requested in
        the form by virtue of Tine 12. United Slates Code, Section 1701 et seq., and regulations promulgated !hereunder at Tille 12, Code or federal Regulations. WhUe no assurance of
        conlidentlan 1$ edged to res ndents, HUD - eneraJI dlsctO&es this dala on In res nse to a Freedom of Information Act               st
        Name Of Mortgagor (Borrower)                                                                                                                                                Proftcl Number
         Overlook Gardens Pro ertles LLC                                                                                                                                            061-11283
        Name of PtoJeet:
        overtook Garoens
        l.ocallon of Profec:t (stree~ cily & state)
        1605 Clhlon Road, Macon. GA
        Type of Bom>Wor
         !Z)PJMte                           0    Prollt                                            0 PUb:IC                      ON~
         0    Manaoement,O;q>               0    Sales COOp.                                       O Investir-Sponsor            0   BOllder·Seller

                                                      D    Mobile Hare erut                            0   lloard and care                            0     New Construction        0Nm-EJM10r
                                                      D    Nursing Heme                                0   5'19le Rm. ~ricy                           D     RehabU!tatlOn           0 Elevator
                                                                                                                                                      0                             0
                                                      B    lnllVmP.<lli\l'P! Olrp, FN"Jllty
                                                           Housing for the Elderly                                                                    D
                                                                                                                                                            Redevelo;ment
                                                                                                                                                            9.lpplemeot 1.oan       0
                                                                                                                                                                                        Exl$tlng
                                                                                                                                                                                                                 Cllher

        I. Determination of Maximum Insurable Mortgage
              Criteria                                                                    12                                                                   cohimn1                    column2                     colurnn3
        1. Mortgagt or Loan AmOllnl Requnltd In Appllcatlon                                                                                                                                                      $ _ _ _s_.,s_20.o_oo_
                                                                                                                                                                                                                              ___
        2. RHervod                                                                                                                                                                                               $ _ _ _ _ _Nl_A_
        3. Amount s ..ed on vaiu. or Replacement Cost:
           a. Vallie !Replacement COS!) In Fae Slmp!o
              b. (1)Valueofl9'sedFe•
                                                                                          $
                                                                                          $
                                                                                                      6,900,000
                                                                                                              0
                                                                                                                             x   -----83.3=-"-                                  $ _ __...5,...,74"'7"'.7-.00-.


                 {2) GnmVLoan llmd• •lllibulable IO R.C. Mems                             $                   0
                 (3) Excess Unusual land lmptovement                                      $                   0
                 (4) Cost Cootalnmtnt Mcrtq•o• Oeductlon                                  $                   0
                 {5) Tolll lints 11! to (4)                                               $                   0          x                   83.3"
                                                                                                                                                      '----~0-
             c. Unpaid &lance of Spec!a! Assessmen1                                                                                                   ~ ------=oc.. , _____o-.
             d . Totallne b plua llne c
           e. line a mfruc Goe d                                                                                                                                                                                 $ _ _ _6_..1_4_1......1_00_
        4. Amount based on Umltatlona Per Famlly Unlt
             a. MmbetofnoBedroomUnlts                                                                         0              x   $         109.372    $                    0
                  Numbt< or ono Bedroom Units                                                                •a              x   $         121,155    $            5.815.430
                  Nt.mbtt or two Bedroom Units                                                               88              x s           HU16         $         12.735.008
                  Number of thrt• Bedroom Units                                                              48              x $           178,372    $            8.561,851
                           or
                  Number four or more Bedroom Unlls                                                           0              x             201,938    s                    0
             ..;:;
               b-....
                   eo.si=nol--M1buta==bl;.;:••'"=-Owe=""Di"'noLU;:;.;&:.;;e. __ _ _ _ _   s _____0;:;...                     x               83.3'6   $                    0
             ..;;c.--.w..•.-
                          mll l=G<l-.:..1'11::.:ce=of""L;;:and-.,._ _ _ _ _ _ _ _ _ s - - - - - - =0-                        x              100.0'6   $                    0
             d. Total Ines a trouqh c                                                                                                                                           $            27.112,290
            e. Total Nlnlber of Spaces                                                                        0              x                    0                             $                     0
            I. Sum: V11u~ of Leased Fee and Unpaid Balance of Soeclal Assessmellt (s)                                                                                           $                         0
        O. •9. lln• d orlne e, vmtchewrls appllcebla, minus llne f                                                                                                                                               $            21,112,200
        5. Amount Bued on Debt SttVlca Ratio:
           a. Mo!!ga!I! lt\Wesl Rate                                                                                                                              4.280000%
              b. Mo!1gago lnslnnce Premium                                                                                                                        0.600000%
              c. lnlllal Cll1al Rite                                                                                                                              f.236697%
              d. Sum of Above Rain                                                                                                                                                               8.1187%
             _e._N_e_t_lnccme,._
                            ______________ S                                                            407 531              x _____.8.-3.-3'6.-                                .$ ---~33;:.;:9••4"-
                                                                                                                                                                                                  7•.-
                                                                                                                             $ _ __ _ _o,_                                      $ _ _ _ _ _o;;..
             _r.....AnnuaJ       """"""R""en,_t_ __s~-------o- + AMual Spec. A.$sml
                     ......._Gro~und
             Q.   llnee mlNJS&ne f                                                                                                                                              s ----
                                                                                                                                                                                     3~"'9'"'•'-'74-.
             It. Lina odMded by file d                                                                                                                                                                           $
             I. AnnualTaxAbelemenl                                          Savings       $    - - - - - - '0-.divlc!ed by _ _ _ __..o.__'6                                                                      $                       0
             J. Uno h plll$ llne I.                                                                                                                                                                              $

        Previous edrUons are oosolete                                                                                                                                                                  form HU0·92264·A (03/2010)
                                                                                                                     Page 1 of4                                                                      refHandbooks"480.1 &4470.1
                                              Case 4:17-cv-00101-CDL Document 1-4 Filed 05/12/17 Page 26 of 88
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                          I. Determination of Maximum Insurable Mortgage (cont.)
                          Criteria                                                                                                     column 1            column 2            column 3
1i                        6. Amount Based on Estimated Cost of Rehabilitation Plus:
    j                         (I) "As Is" Value, or (U) Acquls!Uon Cost,
                              or Qii) Existing Mortgage Indebtedness Against the Property Before RehabiTitatlon:
                              a. Total Estimated Development Costs                                                                $            NfA
    :                         b. Estimated Cost of Off-site Constructlon                                                          $            NIA
    I                         c. Sum of fines a &b
                              d. Grant/loan funds attributable to R.C. items                                                      $ _ _ ___,N
                                                                                                                                            .-/A
                                                                                                                                               -.
                                                                                                                                                       $           NIA

                              e. Line c minus fined                                                                                                 $ _ _ __..N..fA
                                                                                                                                                                  _.
    1                         f. "As-ls" Value of Prop. Before Rehab.              $                      X                  %    $ _ _ __...N
                                                                                                                                             ...IA
                                                                                                                                                 -.
        i                     g. Existing Mortgage Indebtedness (Property owned) or Purchase Price of Property (to be Acquired)              NIA $
                              h. Line e plus fine for line g, whichever Is less                                                                     $ _ _ _ _N _l_A
                              i. Line h X - - - - - -                                                                                                                     S _ _ _ _N_fA_
        l
        I                 7. Amount Ba&ed on Borrower's Total Cost of Acquisition Sec~on 223(f)
                             a. Purchase Price of Project                                                                         $ _ _ ___.N_l....
                                                                                                                                                 A
                             b. Repairs and Improvements, If any                                                                  $ _ _ _ _N _f_ A
                             c. Other fees'                                                                                       $ _ _ __.N - .tA-.
        1                    d. Loan Closing Charges •
                             e. Sum ofllnes a through d
                                                                                                                                  $ _ _ ___,N_.l-.A
                                                                                                                                                       $ _ _ __...N
                                                                                                                                                                  _l_..
                                                                                                                                                                    A
                             f. Enter the Sum of any Grcinl/loan and Reserves for Replacement and
                                                                                                                                                       $ _ _ _ _N_IA
                                                                                                                                                                  _
            1
            ;
                                Major Moveable Equipment to be purchased as an asset of the project
                             g. Une e minus Une f                                                                                                      $ _ _ _ _N
                                                                                                                                                                _IA_
                             h. Uneg X       NA                                                                                                                           $ _ _ _ _N
                                                                                                                                                                                   _l-.
                                                                                                                                                                                     A

                         8. Amount Based on Sum of Unit Mortgegt              12                                                                                          $ _ _ _ _N
                                                                                                                                                                                   _l_A

                         9.   Amount Based on Estimated Cost to Borrower
                              a. Total Estimated Cost (Exclusive of Sita and Requlre.d Construction Off the Site)                 $             NfA
                              b. Purcliase Price of Site                                                                          $             NfA
                              c. Total Cost of Clearing Site, if any                                                              $             NIA
                              d. ExpeMe of Relocating Occupants, if any                                                           $             NfA
                              e. Cost of Off-Site Construction1 If any                                                            $             NIA
                              f. Sum of line a through line e                                                                                          $            NIA
                              g. Unef X               %                                                                                                                    $          NIA
                         10. Amount Based on Existing Indebtedness, Repairs, and Loan Closing Charges Section 223(f)
                              a . Total Existing Indebtedness                                                                     $      319891195
                              b. Required Repairs                                                                                 $         53,995
                              c . Other Fees                                                                                      $         281738
                              <I. Loan Closing Charges •                                                                          $        534,760
                              e. Sum otnne a through fined                                                                                             $     4 ,606,680
                              f. Enter the Sum of any GrenVLoan and Reserves for Replacement ana
                              Major Moveable Equipment on Deposit                                                                                      $             0
                              g. Line e minus line f                                                                                                   $     416061600
                              h. 80% of Value                                    $       6 ,900,000     X 80%                                          $     s1s20.ooo
                              I. Greater of fine g or line h                                                                                                               $    5 ,520.000

                         11. Amount Based on Deduction of Grant(s), Loan(s), Tax Credlt(s) and Glft(s) for Mortgageable Items:
                         D. a. 100% ProJect (Replacement) Cost•                                    $        6,900,000
                             b. (1) Grantsnoans/9ifts                                              $                0
                                 (2) Tax Credits                                                   $                o
                                 (3) Value of Leased Fee                                           $                O
                                 (4) Excess Unusual Land Improvement Cost                          $                0
                                 (5) Cost Containment Mtge Deduction                               $                O
                                 (6) Unpaid Balance of Special Assessment                          $                0
                                 m Sum of Lines (1) through (6) .                                                          $                      0
                             c. Une a. mlnus line b. (7)                                                                   $             6,900,000
                              • Project Cost applies to Criteria 7 and 10 under Section 223 (t) and applications pursuant to 223(1). 'Project Replacement
                                Cost a lfes to Section 221 d and other Sections of the.Act mort a es limited b Replacement Cost.

                                                                                                                                                                          I s s,s20,ooo
                         Previous edlUons are obsolete                                                                                                        form HUD-92264-A (0312010)
                                                                                                Page 2of 4                                                  ref Handbooks 4480.1 & 4470.1
                   Case 4:17-cv-00101-CDL Document 1-4 Filed 05/12/17 Page 27 of 88
                                                                                                                      - -·· · - - - - - - -

    II. Total Requirements f or Settlement
    Part A                                                                                Parts
    1. Fees Not to be Paid In Cash                                                        1. a. E>!IGno ln<Mbl1dntts lnd~dlna loin CI01lno r.l.i..... 1$ . 4,552 693
       a. BSPRAISPAA                                   $                                      b. Ad]us1ment ror Contracted Amoun~ In
       b. Bul!der's Prclit                             $                                          eccess of form HU0..92264 Estimates
       c. Other                                        $                                          {1) Con.stnx:llon Contract                          I$
       Total Center In part Bon line 5)                $                                          f2l Architect's Contract                            1$
    2. Commitment, Mktg., flff and Discounts and Escrows                                          r3> Other                                           IS
       a. Fees          GNMA                           $                                      c. Total offines a & b                                                         $                 4 552,693
                        Other                          $                                  2. Reaulred Reoairs                                                                $                    53,995
       b. OlscoUnls Permanent Loan                     $                                  3. Subtotal Olnes 1c + 2l                                                          $                 4,606,688
                        Constructlon Loan              $                                  4. a. MorTQage Amount                                       1$   6,620,000
       c. escrows Debt Service Reserve !Bo"'" & carei $                                     . b. GranVLoan, RFR. M<ilorMovJ01her                      1$           0
                        Other                                      $                      5. Fees Not to be Paid in Cash                              1$
       Total (enter in part B on line 9)                           $                      6. Subtotal Oines 4a + 4b +SJ                                                      $                 5 520,000
    3. Working Capital                                                                    7. Cash Investment Required (line 3 minus Une Bl                                   $                  1913 3121
       a. Wotldno Callital                                         $                      9. Initial JDeraunn Oerlcit •                                                      $
       b. Minimum Capital Investment ISec. 202 & Sec. 911}         $                      9. Commitment. Mar1celina Fees. Discounts and Escrows                              $                      5,354
       c. Non·Realtv Items Not Included in MDnOaae                 $                      1o. Worklno CsDital                                                                $
       Total {enter In part Bon llne 10l                           $                      11. Offsite Construction and Demolltlon Costs
                                                                                               ($                            ... $                                      }     $
                                                                                          12. Total Estimated cash Requirement
                                                                                              rsum of lines 7 + 6 + 9 + 10 + 111                                             1$                 (907,9581
                                                                                          Front Money ~ow, If Any,
                                                                                              (subtract line 6 from line 1)                                                   $
t                                                             12

I   • Note: for Section 223(1} cas~. attach the format for computing ltle operating deficit.



I   Ill   sources o ffunds t o MeetCas hReau rements
          Scorca

    'Bommer Casi\ Out                                                                                                                                                         $
                                                                                                                                                                                     Funds Available
                                                                                                                                                                                                 (907,958)

                                                                                                                                                                              $

                                                                                                                                                                              $

                                                                                                                                                                              $

                                                                                                                                                                              $

    Total Avallable CHI! for ProJect                                                                                                                                          $                  (907,958)
    IV. Recommendations, Requirements and Remarks
                    l.1 I Recommend Appcovat; Subject to CondlUons Stated.,Below, If Any
                    n   Recommend Rejection for Reasons Slated BelOw (If more space Is needed, continue on page 4).




                                                                   x
                                                                                                                                                                 lorm A00-92284"A (0312010)
                                                                   Page 3of4                                                                                tl'!.f   }-f;::a,tttUv~"t.-   .a con ' " • ·-- •
            Case 4:17-cv-00101-CDL Document 1-4 Filed 05/12/17 Page 28 of 88
                                                                                              _____         .. .......... .




              Remam·
              Exlstina Debt
               $                  3,989,195 Existing Debi+ PJepiyment ~nally (Northlllarq Capital)
               $                  3.88! 195 Total Exlstlno lndabtneu / PuJChaM Pnc.


              Loan Closlna ChamAs
               $                    358,800 lnil!aJ Deposit lo Replaco~ Reserve

               $                     M,200 Procasslng Fee

\              $                     15,000 OWner legal & OrganlzaUonal

               $                     15,000 Tiiie & Recording

               $                      18,560    FHA0camFee
                                     55,200 F1/$1 Yfm MortgaQS Insurance ~

\
               $

              $                     615 760 ToW Loan Closlna Chal'!IM


l   I         $
               Other Fees
                                       1.500 FHA 11\specllon fee
              $                      19,000 GNMA Placement Fee


    \         $

              $
                                       7,800

                                       3,600
                                                Appraisal • ValueTech Realty

                                                PCNA Report - Dominion Due Diligence

              $                        2,550    Phase I Envlronmental Assessment • Dominion Due Diligence

    \   I
        I     $
               s·                        800 Other (P&A Report· Dominion !)(ie Ollgence)

                                     12,488 Survey

              $                      47.738 Total Othor Fen


               Recalr/Reolacement/lmorovement Costs
              $                      53,995 CriUcal Repairs

              $                          -      Non-Crfllcal Repail'$

              $                      53996 Reoalr/Reolacemtnt Costa



              $                     913 31% Ca1b to Owner


              s               5,520,000 Total Develooment Cost




             PU!llc Repo<IX>g Bl.I'<*! for lhls prgjecl llllllJO 1$ 9Sltnated IO awrage 8 hotn pet rnponae, h:lldlng the lime for reviey,(ng ln!lruetlont, ~
             eoc1$tlng data SOUl'OI$, galh"1ng and maotalnlng the data needed. 1114 comple!Mlg and Clvf8'Mtig lho c:olleciion of WcmlaCicn This 1gen:y mat not
             ooncM:t or sponsor, and a person Is not Clq'*9d io. a caledlon cf lnlOrmaGon lritln twt collclicl'I dlspley> • valid OMS control niml>er.
             This Wormation IS being eolleded wlder Publle law 101.e2.5 Mlicn mpred Che Oeparlmtnl cf to ~Mil• system Of mortgage tlSUrlnce lor
             mor1Qagn lnsuced under Secilon 207, 221, 223, 232, or 241 ot the N~ Housing Act. The lnrormll1Jon wi11 be used by HUO to appro119 191U, pvp«ty
             0 . Ohr Fns (l)jrd Pwty Repolts, Survay, lnspeCl!on F•)                                                                         •
             In ecconl will\ Ile Freedom of lrblndon Mt (FO!A) pro'llskm o<if k COIAd fmpact on the et.1!11y ol the OepeM\enr • mission IO prO'Ade housing ITlls
             lft!er !he mlous SlcitOns of Iha HO!l!lng leg!S!alkln.
             PrevlOll• editions are ObiOIOte                                                                                           tomi AOD-92264•A(031201 b)
                                                                                  Page 4 of 4                                        ref Handbookl4480.1 & 4470.1
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                                   CQMPUIATION OF FEES IN A REFINANCE TRANSACT!QN
     Re:        Overlook Gardens


     Step 1.    Add the known dollar amounts for:
                A. ExlsUng Indebtedness + Prepayment Penalty                             $    3,989,195
                B. Repairs (Critical and Non-Cr!tica~                                    $       53,995
                C. lnlUal Deposit to Reserve Fund for Replacements                       $      358,800
                D. Legal                                                                 $       10.000
                E. Organlzallonal                                                        $        s.ooo
                F. Tille and Recording                                                   $       15,000
                G. Other Fees (Third Party Reports, survey, Inspection Fee)              $      ·28,738
                H. GNMAFee                                                               $       19,000
                    TOTAL                                                                                 $      4,479,728

     Step 2.    Less Escrow on Deposit wl Current Mortgagee                                               $

I                                                                                               TOTAL     $      4,479,728


~    Step3.    Add the known percentages for the following:
               A. Financing Fee
               B. MIP
                                                                                                  1.00%
                                                                                                  1.00%
                                                                                                                       '



II             C. ExamFee
               D. FNMAFee
               E. Discounts, IfAfiowabre
                  TOTAi..
                                                                                                  0.30%
                                                                                                  0.00%
                                                                                                  0.00%
                                                                                                                     2.30%
I
     Step4.     Subtract the product in step 3 from 100~.                                       RESULT              97.70%

     Step 5     Divide the product from Step 2 by the result from step 4. The quotient
                rounded down lo the nearest hundred becomes the mortgage amount.                          $      4,585,100


                                                                                         Fees Based on     Fees Based on
                                                                                          Actual Mtg.      carcutated Mtg.
     Step6.    Compute and total the actual fees based on the mortgage amount                $5,520,000          $4,585,100
               determined In Step 5.
               A. Financing Fee                                                          $       55,200   $         45,851
               B. MIP                                                                    $       55,200   $         45,851
               C. Exam Fee                                                               $       16,560   $         13,755
               D. Permanent Placemen! Fee                                                $                $
               E.GNMAFee                                                                 $       19.000   $         19,000
               F. Discounts, IfAllowed                                                   $                $
                   TOTAL                                                                 $      145,960   $        124,457

     Step7.    Add to the total derived from Step 6, the following:
               A. Legal and Organizational                                               $       15,000   $         15,000
               B. Initial Deposit to Reserve for Replacement                             $      358,800   $        358,800
               C. Title and Recording                                                    $       15.000   $         15,000
                   TOTAL                                                                 $      388,800   $        388,800

               D. Other Fees (Third Party Reports, Survey, Inspection Fee)               $       28i738   $         28,738

                   TOTAL LOAN CLOSING CHARGES AND FEES                                   $    563,498     $      541 ,995

                                                                                                          Form HUD 92264A
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. Overlook Gardens Properties, LLC
   · et al. v. Orix USA, LP, et al.


                           Volume 2

                   Exhibits 18 - 28
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Overlook Gardens Properties, LLC
   et al. v. Orix USA, LP, et al.
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EXHIBIT LIST


1   Orix USA Official Web Page
2   Business Wire news press release re Orix's acquisition of Red Capital Group from PNC Bank
3   Orix page for Mike Moran
4   Mike Moran Linkedln Page
5   Press release announcing Mike Moran to serve as Chajnnan of Red Capital Group while
    .simultaneously maintaining his responsibilities with Orix
6   Multifamily Executive Magazine story re Red Capital Group joint venture .
7   Red Capital Group "About Red" webpage
8   February 6, 2017 Emails from HUD re yield spread premium disclosure requirements
9   March 26, 2013 Letter from Red to Paul Hinman and attached Application Letter for Overlook
10 Red Capital Group "The Face of Lending" webpage
11 Red Capital Group "We Provide It" webpage
12 Commitment to Insure for Overlook
13 Lender's Commitment Letter for Overlook
14 Rate Lock Letter for Overlook
15 Emails re Rate Lock
16 Emails re Rate Lock for Overlook and Rate Lock Confirmation Letter (sent electronically)
17 HUD Commitment to Insure (Amended)
18 December l, 2013 Letter from Red to HUD concerning funding financing for Overlook via GNMA
    mortgage-backed securities·
19 Closing Document List for Overlook deal
20 Request for Endorsement of Credit l1.1strument & Certificate of Lender, Borrower- Overlook deal
21 December 8, 2015 letter to James Croft re Yield Spread Premium
22. James Croft response letter to December 8, 2015 Yield Spread Premium inquiry
23 December 16, 2015 response letter to James Croft re his response (Exh. 22)
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Overlook Gardens Properties, LLC
   et al. v. Orix USA, LP, et al.
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EXHIBIT LIST CONTINUED


25 Hausfeld v. Love Funding Corp., C.A. No. TDC-14-0142, United States District Court, District of
   Maryland, Sept. 17, 2015 Order on Cross Mot. for Summary Judgment [Pacer Doc. 36]
26 Mr. Hausfeld 's Employment Agreement with Love Funding
27 Request for Endorsement of Credit Instrument & Certificate of Lender, Borrower- Creekwood deal
28 MAP Guide Excerpts
29 NAMB 2/24/2009 published position re YSP
30 PNC 10/13/2009 engagement letter
31 Sample Lender's Certificate
32 HUD Mortgagee Letters and Multifamily Notices
33 Samples of Objection Letters
34 MAP Closing Guide Excerpts
35 Sample Sotirces and Uses Worksheet
36 December 14, 2016 Letter from Jim Croft
37 Request for Endorsement of Credit Instrument & Certificate of Lender, Borrower-Inverness deal
3 8 Request for Endorsement of Credit Instrument & Certificate of Lender, Borrower-Greystone Farms deal
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        Exhibit 18
                                        . . . ·--·----
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                                                    Red
                                                                         .       ' :.t:   :•   •..   .   : ...

                                                                    ·"       ·    ,. · :. ·    .· • • .... _: .... · red ·
A. •;>PNC Compolly




 December 1, 2013


 U.S. Department of Housing and Urban Development
 Atlanta Regional Office
 Five Points Plaza Building, 40 Marietta Street
 Atlanta, GA 30303-2806

             Re:           Overlook Gardens Apartments
                           FHA Project No. 061-11283
                           Project Address: 1400 Gray Highway, Macon, Georgia

 Ladies and Gentlemen:

 The purpose of this letter is to provide evidence of the permanent financing to be provided by
 Red Mortgage Capital, LLC ("Lender") for the above-referenced project.

 Lender will provide permanent financing based upon the Commitment to Insure Upon
 Completion for Section 207, pursuant to Section 223(f) of the National Housing Act, as
 amended, i~sued by HUD on October 22, 2013, as amended. The financing terms include a
 permanent mortg~ge interest rate of 4.28 percent. The permanent financing will be "for a term of
 420 months. The financing will be funded through the sale of GNMA mortgage-backed
 securities.

 If you have any questions or require any additional infonnation, please do not hesitate to contact
 the undersigned at 614-857-1400.

 Very truly yours,

 RED MORTGAGE CAPITAL, LLC



 By:             ~ti~
          JeffNeeth
          Director




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     ·Exhibit 19
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                                RED MORTGAGE CAPITAL, LLC
                              OVERLOOK GARDENS APARTMENTS
                                        FHA Project No. 061-11283
                                              Macon, Georgia
                                   Section 207, pursuant to Section 223(f)
                                        Atlanta, Georgia HUD Office
                                     Closing Date: December 19, 2013


1.     FHA Firm Commitment, as amended
2.     Mortgagor's Organizational Documents
3.     Partnership's Certificate of Sun Valley Properties, LLP
4.     Survey
5.     Surveyor's Report
6.     Title Policy
7.     Title Exception Documents
8.     UCC and Litigation Search Reports
9.     Warranty Deed
I 0.   Evidence of Building Code Compliance
11.    Closing Protection Letter
12.    Mortgagor's Attorney's Opinions
13.    Inspection Fee and 11IP Check
14.    Certification of Borrower Regarding Rent Roll
15.    Owner's Certification re: Completion of Critical Repairs
16.    Certifi.cation Regarding Lead Based Paint, Asbestos and Smoke Detectors
17.    Infestation Inspection Report
18.    Attendance Sheet
19.    Note (Multistate) and Rider
20.    Security Instrument
21.    Regulatory Agreement
22.    UCC Financing Statement - Bibb County, Georgia
23.    UCC Financing Statement - Georgia Central Filing Index
24.    Request for Endorsement of Credit Instrument
25. : Agreement and Certification
26.    Settlement Statement
          Case 4:17-cv-00101-CDL Document 1-4 Filed 05/12/17 Page 37 of 88




  27.     Mortgagor's Certification: Tenant Security Deposits
 28.      Permanent Financing Letter
  29.     Owner's Certification re: Completion of Non-Critical Repairs
 30.      Borrower's Oath
 31.      EEOC Certification
 32.      Assurance of Compliance with Title VI
 33.      Byrd Amendment Certifications
 34.      LIHTC Certification


 Distribution List:
 Tiffany Ranft (CD)
 Sherry Osborne (CD)
 Patrick Reardon
 George Mize Jr. (2 CDs)
 Sylloris Lampkin (2 CDs)




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       Exhibit 20
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                                                                  U.S. Department of Housing                                 .OMB Approval No. 2502-0598
 Request for Endorsement of Credit                                and Urban Development                                                (Exp. 0413012014)
 Instrument & C~rtificate of l,,ender,                            Office of Housing
 Borrower& GeAeral Contraeter


 Public Reporting Burden for this collecilon of Information is estimated to average 0.75 hours per response, Including the time for reviewing
 instructions, searching existing data sources, gathering and maintaining the data needed, and..completing and reviewing the collection of information.
 Response to this request for information is required in order to receive the benefits to be derived. This agency may not collect this information, and· you
 are not required to complete this form unless it displays a currently valid OMB control number. While no assurance of confidentiality is pledged to
 respondents, HUD generally _discloses this data only in response to a Freedom of lnforrf!atlon Act request.                                    ·


 Project Name:        Overlook Gardens Apartments                               Project Number.          061-11 283

 Project Address:     1400 G ray Highway                                        Date of Commitment:      ~O=ct~ob
                                                                                                                ~e~r=22~.=20~13.....__ _ _ _ __
                      Ma~on •. Georgia
                                                                                Borrower.                Overlook Gardens Properties, LLC
 Lender:              Red Mortgage Capital, LLC
                                                                                 D   Insurance upon Completion    und~r Section _ _
 0     Traditional Application Processing (TAP)                                 l8'J Refinancing under Section 207. pursuant to Section 223(f)
 [gl   Multifamily Accelerated Processing (MAP)
·D     Other

                                    .  .
 To the U.S. Department of Housing and Urban Development (HUD):

                                                                       GENERAL

   The entities executing this Request for Endorsement of Credit Instrument ("Request") are RED
   MORTGAGE CAPITAL, LLC, a Delaware limited liability company, Lender under that certain
   Security lnstrument<lated as of December 1, 2013; and OVERLOOK GARDENS PROPERTIES,
   LLC, a Georgia limited liability company, Borrower under the Security Instrument; aR8, iR eases
   fA¥elvin~ ins1:1ranee wiseA eempletieR,                                                          , GemeFal ·
   Gerntr-a@ter, tRe eRtitj' res~@Rsiele fer €i©Astn:1etieF1 er swestaritial reAaeilitatieR ef tf:le Pr@jeet. The
   parties hereto· understand that t~e Security lnstrument, the Note, this Request, and any documents
  .submitted with this Request are cons·idere.d to be consistent with and shall be interpreted consistently
· with HUD's regulations as they pertain to the Contr~.ct o~ .Insurance. The parties hereto agree to be
   bound by Program Obligations. (The definition of any capitalized term or word used herein can be
 ·found in· this Request, the Regulatory Agreement between Borrower and HUD, the Note, and/or the
   Security Instrument .. except that the term ·" Program _Obligations" means (1) all appticable statutes
   and any regulations issued by the Secretary pursuant thereto that apply to the Project, inch.:iding all
   amendments to such statutes and regulation~, as they become effective, except that changes subject
   to notice and comment rulemaking. shc:ill become ~ffective only upon completion of the rulemaking·
   process, and (2) all current. requirements in HUD handbooks and guides, notices, and mortgagee
   !etters that apply to the Project, and all future updates, changes and amendments thereto, !3S they
   become effective, except that changes subject to notke ·and. comment rulemaking shall become .
   effective only upon completion of the rulemaking process, and provided that such future updates,
   changes and amendments shall be applicable to the Project only to the extent that they interpret,
   clarify and.implement terms in this Request rather than add or delete provisions from such document.
   Handbooks, guides, notices, and mortgagee letters.are available on HUD's officfal website:
   (http://www.hud.gov/offices/adm/hudclips/index.cfm or a successor location to thafsite).
 Previous editions are obsolete;                                  Request for Endorsement                                         HUD·92455M (Rev. 04/11)
 Replaces form FHA-2455 (02173)
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                                                                                                            2

                                           I. CERTIFICATE OF LENDER

                                   A. LENDER SUBMISSIONS & REPRESENTATION$

  1. Lender submits separately a check·to HUD for $55,200.00 covering the first mortgage insurance
  premium, together with the other items called for in the Firm Commitment dated October 22, 2013,
  a.nd in any e'xtensions or amendments thereof. Lender certifies that all conditions of the Firm
  Commitment have been fulfilled to date, including any work done prior to endorsement of the Note
· that has been approved by HUD, in writing, and all HUD-imposed conditions have been met with
  respect to such work.

 2. Lender. submits separately the appropriate security agreement(s) executed by.Borrower covering
 all of the Mortgaged Property that, under applicable law, may be subject to a security interest under
 the Uniform Commercial Co-de. (" VCC"), whether acquired now or in the future, and all products and
 cash proceeds and non-cash proceeds thereof ("UCC Collateral").

 3. Lender submits separately a certified survey of the Mortgaged Property, if required by HUD, and a
 title policy as specified in Program Obligations toget~er with evidence that the Mortgaged Property is
 properly zoned.           ·

 4. Len.der agrees that the amount approved for dfsbursement by HUD Sh(?ll not be released unless
 the current endorsement to the title policy.; insuring Lender and HUD, ev.idences that '(a) the lien of
 the Security Instrument is prior to all liens and encumbr.ances that may have attached or defects that ·
 may have arisen subsequent to the recording ofthe Security Instrument, except such lieris or other
 matters approved by HUD, including tax liens not delinquent, and (b) the lien of the Security
 Instrument is prior to all mechanics' and materialman's liens filed of record subsequent to the ·
 recording of the Security Instrument, regardless of whether such liens attached prior to the recording
 date.

 5. Lender agrees to: (a) obtain the prior written approval and/or consent of HUD tn those instances
 required in .the Security Instrument; (b) furnish HUD with all pleadings, reports and data in those
 instances required in the Security Instrument, including but not limited to the physical inspection
 report of the Mortgaged Property, except for physical inspections performed by HUD or on behalf of
 HUD, and financial reporting data; and (c) furnish HUD with a copy of any application by Lender for
 the appointment of a receiver pursuant to the Security Instrument and all related pleadings.

 6. Lender agrees to furnish a copy of this Request to any succes~ors and assigns of Lender and
 agrees t,hat, in any contract for sale ·or assignment of the Se.curity· Instrument to a successor Lender
 (for purposes of servicing the Loan only), the successor Lender will agree to be bound by the ·
 provisions of this Request tJ:iat relate to the servicing of the Loan.

 7. To the best of our knowledge and information, any required repairs have been completed in
 accordance with Program Obligations, except for such items ·approved by HUD for delayed
 completion or non-critical deferred repairs as indicated on a separate schedule attached hereto as
 Exhibit C.


 Previous editions are obsolete;                Request for Endorsement                 HUD·92455M (Rev. 04111)
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l                                                                                                               3


      8. Impound accounts for taxes, insurance and mortgage insurance p.remiums have been established
    · and are adequately funded.                                                 ·         ·

     9. Lender agrees (a) to require Borrower to keep the Mortgaged Property insured at all times against
     such hazards as Lender and HUD may from time to time require ar.id as. set forth in the Security
     Instrument, and (b) to notify HUD of any known payments made by an insurer.

    10. Lender certifies that all insurance policies on the Project comply with the terms of the Security
    Instrument and, where applicable, that those insurance policies have attached thereto a standard
    mortgagee clause making the loss payable to Lender, as its interest may appear, and where
    applicable, Lender is shown as an additional insured. If Lender dete·rmined that any of.the
    Improvements are located in an area identified by the Federal Emergency Management Agen9y (or
    any successor to_that agency) as an area having special flood hazards, Lender certifies that it has
    collected a receipt from the insurance company providing flood insurance evidencing payment for the
    premium, dated N/A per Survey and Surveyor's Report.

      1. The term "Financing ChargeCs)," as used herein shall mean any charge, direct or        in~irect,
                                                                                                     for)
     supplying the Loan to Borrower or servicing the Loan for HUD, Ginnie Mae, a third party investor or
     Lender's own account.            ·                                          ·                     .

    12. If the Security Instrument is assigned to HUD urider the Contraet of Insurance, HUD shall not be
    bound by the.requirements of this Request.                                         ·

     13. Lender agrees to promptly review any Borrower's request to transfer the Project and.not
     unre.asonably withhold Lender's approval of the transfer. If HUD approves the transfer, Lender
     agrees. to execute a release and assumption agreement ·or a security instrument modification
     agreement incorporating any new Regulatory Agreement into the existing Security Instrument. It is
     understood that Lender's consent to the transfer will in no way prejudice Lender's.rights under the
     Contract of Insurance with HUD.                                                       ·

    14. Lender agrees (a) to notify HUD in writing immediately upon learning of any Violation of the
    Regulatory Agreement by Borrower, (b) that Violations under the terms· of the Regulatory Agreement
    may only be treated as a default under the Security Instrument where HUD requests Lender to do so,
    and (c) following a Declaration of Default by HUD under the Reguiatory Agr~ement and upon the ·
    request by HUD, Lender,. at its option, may declare the entire Indebtedness to be due and payable.

                                        B. FEES AND CHARGES BY LENDER

    The charges enµmerated on a separate schedule prepared by Lender are attached h~reto 8$ Exhibit
    A. The charges have been (i) collected in cash or. will be so collected not later than the date of initial
    endorsement;. (ii) will be disbursed from Loan proceeds; or (iii) will be collected or disbursed as
    otherwise set forth in Program Obligations.                                                   '




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     Replaces form 'FHA-2455 {02/73)
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                                                                                                             4


                                  C. ESCROWS AND DEPOSITS HELD BY LENDER

1. Borrower has deposited with Lender, or subject to the control and order of Lender in a depository
satisfactory to Lender, in accordance with Program Obligations, the following sums required by the
Firm Commitment: {Check arid complete applicable paragraphs.)                                 ·

D     (a) Escrow deposit guaranteeing payment for off-site facilities in the amount of
$              . This deposit is in the form of                        (cash or letter of cred;f). The
Escrow Agreement for Off-Site Facilities is dated                         , 2.0 _, and is executed by


0      (b) Lender has received from Borrower a working capital deposit in the form of (cash or fetter·
of credif)                 in the sum of$                 which L.e nder agrees to maintain and
control: Funds in this deposit may be released or allocated for the purposes indicated in the Escrow
Agreement for Working Capital (dated                   , 20_, and executed by                    and
for no other purpose unless Lender obtains the prior written approval of HUD.
           .                                               .
D      (c) Lender has [collected from Borrower in cash} OR [set aside from the final disbursement of
Loan proceeds] funds totaling [150% of the amount necessary to complete the items of delayed
completion] OR [120% of t he amount necessary to complete non-critical, deferred repairs] described
in Paragraph l.A.7, above-. The [Escrow Agreement for Incomplete Construction] OR [Escrow
Agre·ement o(Non-critical Deferred Repairs} is attached hereto.

!El   (d) Lender has collected the sum of$358,800.00 for deposit into the Project's Reserve
for Replacement account.      ·

2. Lender_submits separately: (Check applicable paragraphs.)

0        (a) Off-site bond in the amount of$_ _ _ _ __
                                                                        . .
D      (b) Evidence to the effect that required off-site utilities and streets will be provided by the
public authorities having jurisdiction or by public utility companies serving the Project.

.3. As required by the Firm Commitment (if required, check and complete the.applicable paragraph):

D   Submitted separately is the sponsor's guarantee to meet an initial operating deficit (dated
_ __ , 20_, and executed by _ _ __,
                                     ..                                    .
0   Escrow Agreement for Operating Deficit evidencing a (cash, or letter of credit)
_ _ _ _____ deposit.in the amount of$                     , dated         , 20_, _and execute~ by


4 . List any other escrows:

5. Beginning with the cfate on which the first payment toward amortization is required to be made by
the terms of the insured Loan or at such later d~te as may be agreed to by HUD in writing, Lender

Previous editlons are obsolete;              .   Request for Endorsement                 HUD-92455M (Rev. 04/11)
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                                                                                                                 5

  shall require a monthly deposit with Lender or in a depository satisfactory to Lender in accordance
  with Program ObHgations of the sum required by the HUD Regulatory Agreement constituting a . .
  Reserve for Replacement, which account shall be subject to Lender's orde.r and from which account
  withdrawals may be made only upon the receipt of HUD's written permission. Lender acknowledges
  that the amount of the monthly deposit may be increased or decreased from -time·to time at the
  direction of HUD in accordance with Program Obligatfons. Such funds shall at ·a ll times retnain under
  the control of Lender or Lender's designee and shall be held in accounts insured or guaranteed by a
  federal agency and in accordance with Program Obligations. Notice of any failure to receive the
  required deposits shall be forwarded to HUD within 60 days of the date such deposits are due.

  6. In cases Where a Residual Receipts account is required with respect to the Loan under the
   Regulatory Agreement, Lender shall deposit or place in a depo~itory satisfactory to lender, in'.
 · accordance with Program Obligations, all funds received from Borrower for deposit therein. The
   Residual Receipts account will be subject to the control of Lender, and withdrawals m_ay be made
   only with the prior written approval of HUD. These funds shall be held in an interest-bearing account
   which shall be insured or guaranteed by a federal agency and in accordance with Program .
   Obligati<?ns. Lender agrees to notify HUD in writing of any non-compliance with Program Obligations
   with respect to such Residual Receipts account immediately when known to tender.
                                              .                     .
                      D. CERTIFICATIONS, AGREEMENTS, AND ACKNOWLEDGEMENTS

  1. Lender certifies and agrees that no financing charges other than charges disclosed herein .have
  been or shall be made. Until final endorsement for insurance by HUD, all funds collected pursuant to
  items (c), .(d), or (e) bel.ow and not paid over to the permanent lender, plus any funds returned by the
  permanent lender, shall -be held for the account of Borrower and shall be subject to HUD's control
  and direction in the event of a claim under the Contract of Insurance.

(Lender further certifies and agrees    th~t:   (Check and complete the following applicabie .               )
  subparagraphs)               . ·                      .

  0 (a) Lender has not imposed and will not impose a financing charge of any kind directly or
  indirectly, other than the initial service charge.

  D (b) In addition to the initial service charge, Lender has collected in the form of (cash or letter of
  credit)         ··        for the amount of $                 as a discqunt or financing charge for the
  construction loan. Also, an amount of$               . has been collected in th~ form of (cash or
  letter of credit)              to cover construction Loan extension f.ees. In an attached
  addendum, Lender has identified the time frames in which the extension fees must be paid.

  IZJ (c) tender intends to retain the permaner:it loan and has collected a permanent placement fee of
    See Exhibit A . . In addition to the initial service char e and permanent lacement fee, Lender has
  collected in the form o (cash or letter ofcremt).. See Exhibit A the amount of$ See Exhibit t::as·
  a discount or financing charge for the permanent loan. The amount of the initial service charge is
  sh own in Exhibit A . ·                                   '                          · ·

  0 (d) Lender has a firm commitment from _ __ _ _ _ __ _ _ _ _ to purchase the

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1.
                                                                                                                    6


.l       Loan when fully disbursed and fully in?ured at a finar:icing charge or discount of _ _ percent and
         Lender has collected in the form of (cash or Jetter of credit)            ·              the amount
         of$               to cover said charge or discount.
l
         D (e) This Project shall be financed with (tax~exempt or taxable)               bonds. Therefore,
         Lender has collected in the form of (cash or Jetter of credm                     the amount of
         $               and has distributed or shall distribute from Loan proceeds the amount of
         $                  to cover the costs of issuance. A stat~ment is attached as Exhibit     itemizing
         these costs with an explanation of the necessity of each cost and the source of the funds.

         0 (f) The Loan is a unitary loan under which the Lender intends· to retain the Loan for both the
         construction and permanent loan terms. Lender has collected a unitary loan placement fee of
         $               . In addition to the initial service charge and the unitary loan placement fee, Lender
         has collected in the form of (cash or letter of credit)              the amqunt of $             as a
         discount or financing charge for the unitary loan.

         [gj (g) Additional financing charges or discount of$ See Exhibit A are to be collected under          )
         Exhibit A attached hereto for the purpose shown in~. (~). ~. ~. or~. .(Strike. inapplicable
         letters) The arrangement for the collectiori qf additional financing charges or discount mu.st follow
         Program Obligations and use forms prescribed. by HUD.                    .             .           ·

         [gJ (h) The Note rate includes a servicing fee payable to Lender monthly during the life of the Loan
         ("Servicing Fees"). In addition; the Lender may impose reasonable and customary administrative
         fees and charges (including but not limited to, reimbursements for out-of-pocket expenses) for
         handling and investing the cash held in the Reserve for Replacement, the Residual Receipts
         account, if applicable, and any other interest-bearing escrows related to the Project and for
         processing, reviewing and approving ot~er rna~ers, as .rnore fully set forth in Program Obligations
         C'Administrative Fees"). Borrower is entitled to earn interest on the Reserve for Replacement and
         Residual Receipts accounts, as more fully set forth in Program Obligations. Lender shall not invest
         escrow account monies in interest-bearing account unless interest earned is add~d to and included in
         the relevant escrow account, and unless the net income is paid or credited to the account of
         Borrower. Net income is defined as the earnings remaining after the following expenses are
         deducted:. (i) any Servicing Fees, and (ii) any Administrative Fees.

         D (i) The Loan to be made to Borrower will be financed·through fonds being provided by a third-
         party investor through the issuance to the investor of permanent participation certificates pursuant to          )



         a participation agreement between.Lender and the investor,. with respect to which agreement Lender
         has agreed to repay the investor at a stated interest rate according to a fixed payment sche~ule.

         (gJ G) The Loan to be made to Borrower will ·be financed through funds being provided by a third-
         party investor through the issuance to the investor of eoRstrnetioA aA€1.permane.nt fully-modified,
1
     •   pass-through, mortgage~backed securitie$, guaranteed as to principal and interest by Ginnie Mae.

         2 . Lender certifies and agrees that, except for (a) Loan advances made in accordance with Program
         Obligations, (b) notes executed pursuant to D.1 (g) above, or (c) Lender advances made pursuant to
         the Security Instrument, Lender .does not have outstanding and sh.all not make loans or adva.nces to

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Borrower, any of the sponsors, the gener!31 co~tractor; or the architect for any purpose connected
directly or indirectly with this Project without prior wri~en approval of HUD and that Lender has not
made or offered, and shall not make or offer, any guarantees, pledges, reservations of sums to
become due or other inducements·to any entity or person to make loans or advances which Lender
would be prohibited from making under the terms o~ this paragraph.

3. Lender certifies that Lender h~s not made and shall not make payment of any kickback or fee or
other consideration, directly or inc;lirectly, ~o any person who has received. payment or 0ther
consideration from any other person in connection with this Loan ·transaction, including the purchase
or sale .of the Mortgaged Property, except for compensation paid or to be paid, if any, for the actual
performance of services and approved by HUD.

4. Lender certifies that in any case where- -a letter of cred'it has been accepted instead of cash,
(a) such unconditional and irrevocable letter of credit is in accordance with Program Obligations and
has been issued by (1) another banking institution; or (2) Lender; subject to receiving· HUD's written
permission prior to initial endorsement; and (b). Lender'has not made and shall not make any
inducements as described in Section 0.2 above to procure issuance of letters of credit. Lender also
agr~es that if demand under the letter.of credit is not immediately met, Lender shall forthwith provide .
cash equivalent to the undrawn balance thereunder without rec~:mrse to Borrbwer and without regard
to Lender's ability to recover s.uch amount from any other entity or person who securitized the letter
clcred~                                                                        ·

5. (a) For Loans funded with the proceeds of state or local bonds, Ginnie Mae mortgage-backed
securities, or other bond obligations as defined by HUD, any of. which contain a prepayment iock-out
and/or prepayment premium provision, Lender agrees, in the event of a default ·during the term of the
prepay'ment !ock-out and/or prepayment premiu111 (i.e., prior to the_date on which prepayments may
be made with a prepayment premium of one percent or less), to follow those procedures set forth in
Program Obligations.

   (b) After commencement of amortization, Lender agrees to notify HUD of the delinquency when a
payment is not received by the Ififteenth (15th) day of the month in ·which. it is due.   .

6. (a) Lender certifies to HUD that the following are the only identities of interest, as defined in
Program Obligations, between Lender and Borrower, any Principal of Borrower, Gontraeter, any
sbiseontraetsr, or the seller of the land:
 None                     ·



   (kl) Len€ler aQrnes that it sl:lall disslose to WUQ any fwtwm i€1entities sf iRterest,' as €1efine€1 in
Pro§ram 00liQations, €!wring.tl=lo sonst1=1;10tion 19erio€1 or ~rior to final en€1ersemoAt.

7. Lender certifies to HUD that no identity of interest, as defined in Program Obligations, exists
between Lender and the counsel to Borrower and that no portion of the amounts included iri the Loan
for Borrower's attorneys has been paid to Lender or its emp_loyees.                                · ·


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                                                                                                              8

 8 . Lender certifies to HUD that all funds, escrows, accounts and deposits specified in this Request
 and any and all other funds held by or at the order of Lender in connection with the Loan transaction·
 covered by .this Request shall be funds held pursuant to .Program Obligations and any applicable
.escrow agreements.                                                                     ·

 9. Lender certifies that all HUD form closing documents submitted to HUD in connection with ·this
transaction (with the exception of the Opinion by Counsel to Borrower and the accompanying
Certification by 'Borrower) conform to those documents Lender obtained from HUD and such
documents have not been changed or modified in any manner e?<cept as suitably identified and .
approved by HUD as evidenced by the Closlng Documents Memorandum attached as Exhibit 8.
fOOFReraneleim.. It is understood that changes and modifications do not include filling in blanks, .
attaching exhibits or riders, deleting inapplicable provisions or making changes author'ized by
Program Obligations. Lender further certifies that all cl'osing documents submitted to and accepted
by HUD at closing in connection with this transaction are listed in the Closing Documents Checklist
attached as Exhibit 8 -1. memsFanslbim.

10. Lender acknowledges, based upon its reasonable due diligen.ce, that Borrower has obtained the
necessary-governmental certificates, permits, licenses, qualifications and approvals of Governmental
Authorities to own .and operate the,Mortgaged Property and to carry out all of the transactions -
required by the Loan Documents and to comply with .applicable federal statutes and regulations of
HUD in effect on the date of the Firm Commitment. Lender'also acknow1edges that appropriate
actions have been taken by and necessary filings have been made with those Governmental·
Authorities all as disclosed by Borrower in Exhibit D, attached hereto.

11. [INTENTIONALLY OMITTED]

12. Lender certifies that it has made reaso11able inquiry and has discovered no liens or
encumbrances against the Mortgaged Property that are not reflected as exceptions to .coverage in
the title policy.

13. Lender certifies that the Loan does not violate the usury laws or laws regulating the use· or
forbearance of money of the Property Jurisdiction.

14: Lender agrees that, if there is a·sale or transfer of all or a partial interest in the Note (other than a
sale or transfer of a participation or other beneficial interest, e.g., a transfer of ~ny interest of a Ginnie
Mae MBS Security, or the creation of a security interest) or a change of the Loan servicer, Lender
shall be responsible for ensuri'ng that Borrower is given Notice of the sale, transfer and/or change.

15. See Exhibit E for PCNA Rider        r~quired   by the MAP Guide.

Lender hereby certifies that the statements and representations of fact contained in this instrument
and all doQuments submitted and executed by Lender in connection with this transaction are, to the
best of Lender's ·knowledge, true, accurate, and complete. This instrument has beef'l made,
presented, and delivered for the purpose of influencing an qfftcial action of HUD in insuring the Loan,
and may be relied upon qy HUD as a true statement of the facts contained therein.


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                                                                                                                   9



         Date                                                    Lender

         December t'f, 2013                                      RED MORTGAGE CAPITAL, LLC,
                                                                 a Delaware limited liabili


                                                                  By           ~       /1 ~
                                                                       Name: Jeff N. Leeth
                                                                       Title: Director


         Attachments:

        Exhibit A                    Lender's Financing Charges
        Ex hibit 8                   Closing Documents Memorandum
        Exhibit 8-1                 ·closing Documents Checklist
        Exhibit C                    L!st of Required Repairs
        Exhibit D                    Borrower's Certification
        Exhibit E                    PCNA Rider




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                                                                                                            10 .

                                      II. CERTIFICATE OF BORROWER

A. The undersigned Borrower certifies to 1-:lUD:

   . 1.-    Borrower has read the foregoing Certifications of Lender, and to the best of its
knowledge and belief considers it° correct.

      2.      AH ·funds escrowed with Lender, as set forth in the Certifications of Lender, may be held
by Lender for the purposes indicated therein, or in an Event of Default and with HU D's permission
may be ·applied to the Indebtedness.

       3.     No Fixtures or Personalty acquired for th·e Project have been purchased using a
conditional sale contract or other form of delayed payment

B.        Additionally, the undersigned certifies that:

      1. Borrower has received the sum of $5.520,000.00, constituting the full principal amount of
the Loan for this Project.

         2. Construction or repairs is/are complete, except as otherwise noted in the Certifications of
  Lender, and is in accordance with-the drawings and specifications or list of repairs required by HUD.
  The Security Instrument is a good and valid first lien; the Mortgaged Property is free and clear of all
. liens other than that of the Security Instrument o.r such inferior liens ashave been approved by HUD;
  and all outstanding unpaid obligations contracted by or on behalf of Borrower, directly or indirectly, in
  connection with the Loan transaction, the acquisition of the Mortgaged Property, and the
  construction, substantial rehabilitation or repair of. the Project are listed below:

                        (a) HUD-approved n0tes (copies attached) $NIA

                        (b) Due General Contractor                        $NIA

                        (c) Other                                         $ N/A

 (NOTE: If {he space provided is inadequate to list all unpaid obligations, insert the total in each
 category and attach itemizations. If ~(lere are no outstanding ob~igations, so state.)

        3. Except for any amounts due on notes listed in item 11.B.2 above, the undersigned agrees .to
 pay the foregoing obligations in cash and to furnish HUD with receipts, or other evidence of payment
 satisfactory to HUD, within 45 days following the date hereof..

       4. Borrower represents and warrants to Lender and HUD that no UCC filings have been .made
 against Borrower, the Project or the Project Assets prior to the initial/final endorsement of the Note by
 HUD (except for a·n y UCC filings disclosed to Lender and HUD in connection with an existing
 mortgage loan secured by the Project, that are to be released in connection with the HUD"'.
 insured tra~saction), and Borrower has.taken and shall take no action which.would give rise to such
 UCC filings, except for any UCC filings in conneqtion with the acquisition of any Personalty (as listed
 below), that has been approved in writing by HUD.

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. No ne




 The Borrower affirms that the statements and representations of fact by Borrower contained in this
 instr1:1ment and all documents are, to the best of Borrower's knowledge, true, accurate, and complete.
 This instrument has been made, presented, and delivered for the purpose of influencing an official
 action of HljD. in insuring the Loan, and may be relied upon by HUD as a true statement of the facts
 contained .the rein.      ·                                                                  ·

 Date                                                   Borrower
                                                                     .            .
 December        f1,' 2013                              OVERLOOK GARDENS PROPERTIES, LLC,
                                                        a Georgia limited 'liability company .

                                                        By: Sun Valley Pro perties, LLP, a Georgia
                                                            limited liability partnership, 'its Managing
                                                            Member


                                                        By:
                                                        Name: Charles A. Gower
                                                        TitJe : Partner




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                                                                                                                        12


                                   m ?GERTIFICATE OF      GE~JERAl        CONTRACTOR



         1.




                         .                                   .
(f>JOT!i: lf tf.us spa&s p.r:svi€ie€1 is lRaele€f1:Jate ts list aM UR(Jaiel e/:JH9atiens, insert th0 t0ta! .iR eash
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                                                     DateEI:



                                        PFiRte€l Mame, Title:

                                                     Date€!:




                                                         · Warning

Any person who knowingly presents a false, fictitious, or fraudulent st atement or
claim in a matter w ithin the j~ri~diction of the U .S. Department of Housing and
µrban Development is subject to criminal penalties,- civil liability~ and
administrative sanctions.




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                                         EXIllBIT A
                                  FINANCING CHARGES

1.   HUD Fees.       Lender has remitted the following fees·to HUD:

     K.__ (a)        HUD examination/application fee in the amount of-$16,560.00.
     K.__ (b)        HUD inspection fee in the amount of $1,500.00.

2.   The· following Financing Charges have been collected by Lender in cash or will be so
     collected in connection with endorsement:
                                                                                              /

      x  (a)         Initial service charge in the amount of $55,200.00.
      X· (b)         Permanent loan fee in the amount of $19,000.00.
     _ _ (c)         Extension fees in the amount of$                 ·
     _ _ (d)         Permanent loan disGount'in the amount of$
     _ _ (e)         Other (specify)
                                                                   ----
                                                             in the amount of$_ __

      From the foregoing amount(s), Lender will pay the sum of $22,080.00 to Trillium Capital
      Resources for services provided in connection with the processing and closing of the
      Loan.

3.    Lender will receive Servicing Fees in· accordance with Section I.D.1.(h) of this Request.
      Lender may receive Administrative Fees in accordance with Section I.D.1.(h) of this
      Request in such· amounts as. may be established by Lender from time to time (and -Lender
      may receive reimbursement for its .attorneys' fees and other costs and expenses incurred)
      in connection with processing, reviewing and approving (i) transfers of physical assets;
      (ii) commercial leases and any related amendments, waivers, renewals, expansions,
      contractions or terminations; (iii) matters related to title to the Project; and/or (iv) other
      matt~rs which are subject to Lender's processing, review or approval under the Loan
      Documents, Program Obligations or otherwise in connection with holding and/or
      servicing the Loan.
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                                           EXHIBITB

                        CLOSING DOCUMENTS 'MEMORANDUM

        Pursuant to S.ection I.D.9 of the Request to which this Closing Documents Memorandum
is attached:

A.     Attached hereto as Exhibit B-1 is a list of the closing documents submitted to and
       accepted by HUD at closing of this transaction.

B.     The following changes and modifications have been made to the HUD form closing
       documents (with the exception of the Opinion of Counsel to the Borrower and the
       accompanying Certification of Borrower) submitted to HUD in connection with this
       transaction. (It is understood that filling in blanks, attaching exhibits or riders, -deleting
       inapplicable provisions, and making changes authorized by Program Obligations are not
       considered to be changes or modifications and are not required to be listed in this Closing
       Documents Memorandum.)

1.     Note.

       1.1     Endorsement panel. In the endorsement panel to be executed on behalf of HUD,
               the phrase "to the extent of advances approved by HUD" (and. the separate
               signature line below that phrase) are ·shown as struck-through text, because for
               this Loan there are no separately-approved advances.

2.     Regulatory Agreement.

       2.1     Reserve for Replacement (Section III. l 0.b). Section III.1 O.b has been revised to
               reflect the .initial deposit(s) to the Reserve for ·Replacement required by the Firm .
               Commitment.

       2.2     Management Contract (Section IV.23). In accordance with HUD's Multifamily
               Regulatory Agreement FAQ #41, Section IV.23 has been revised to read as
               follows (additions are shown in bold; deletions are shown as struck-through text):

                       "TERMINATION OF CONTRACTS. Any management contract
                       entered into by Borrower pertaining to the · Mortgaged Pr9perty shall
                       contain a termination provisions that are consistent with Program
                       Obligations ths ©€lfttra@t shall h© ru@j@©t t0 . tsi=min00.0n Y1~th0ttt 13ooakjr
                       and witl!ettt sattse ttp€l¥l vwitt@11· F©€ftt©8t @)r HUD an€l shall ©€lBtah~• a
                       pr0visi011 that giv@s a0 :mef© thaR a thirty G&y ttetise ~f t©i=mill:atien. Upon
                       ~ a request by HUD to terminate the management contract
                       pursuant to Program Obligations, Borrower shall immediately arrange
                       to terminate the contract, and Borrower shall also make arrangements
                       satisfactory to HUD for continuing acceptable management. of the·
                       Mortgaged Property effective.a$ of the termination date of the contract."
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     2.3     Section IX.50 (Non-Recourse Debt). Section 50 has been modified to refer to an
             attached Non-Recourse Riders. Non-Recourse Riders have been attached, to
             facilitate execution by the parties identified in Section 50.

3.   Request for Endorsement of Credit Instrument & Certificate of Lender, Borrower
     & General Contractor.

      3.1    Reserve for Replacement (Section I.C.1.(d)). Section I.C.1.(d) has been added to
             reflect the initial deposit(s) to the Reserve for ReplaceII_lent required by the Finn
             Commitment, i~ any.

      3 .2   Ginnie Mae Securities (Section I.D.1.(j)).    Section I.D. l .G) has been revised to
                                  to
             delete the reference construction securities since the Loan is a permanent loan
             and Lender will not be issuing construction securities in connectipn therewith.

      3.3    Closing Documents Memorandum (Section I.D.9). Section I.D.9 has been revised
             to reflect the ·attachme~t of Exhibits B _and B-1 to the Request.

      3.4    PCNA Rider (Section LD.15). Section I.D.15. has been added to reference the
             rcNA Rider required by the MAP Guide.]
      3.5    List of Exhibit Attachments. A list of attached Exhibits has been added at the end
             of the Certificate of Lender.

      3.6    Borrower's Listing of UCG Filings (Section ll.B.4). Se_ction Il.B.4 has been
             revised to add a reference to UCC filings that have been made in ·connection with
             the existing mortgage loan secured by the Project, to be released in connection
             with the HUD~insured transaction.
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                               EXHIBITB-1

                    CLOSING DOCUMENTS CHECKLIST




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                                            U.S. DEPARTMENT OF HOUSING AND URBAN DEVELOPMENT
                                                   Section 223(1) lnitialfFinal Closing Checklist

Project Name Overlook Gardens Apartments                                              Checklist Draft Date November 11, 2013

FHA Project Number 061-11283                                                          lnitialfFinal Closing Date December 19. 2013




223(f) Closing Checklist (Revised 412013)
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                       Section 223(1) l nitiaVFinal Closing Checklist
                       Project Name and/or Number: Overlook Gardens Apartments, FHA Project No. 061 -11283



                                                                                                                                  Status and Comment
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      6. Title Insurance Policy, with endorsements                                      t                  I
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                                                                                                          1 jurisdiction. HUD-required endorsements should be
                                                                                                          · attached. Title exception documents and pro forma policy
         '                                                                                                  should be received & reviewed prior to closing. Include     I
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            a. Title Exoe tion Documents _ __ _ _-+--------;,....::..-+--------~----------~·j           C
1 - - - - b. UCC Search Report                                                                          C 1                                                             1
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                                                                                                               zoning opinion or Jetter from the zoning authority may be  ;
                                                                                                                                                                           I
1----                                               ____ - · -                                                 needed.                                                 --1
              9. ; Evidence of Buildin Code Com liance                                                 C '                                                         ---:--!
    NIA 10. ;   Assurance of Utility SerViCe-                                                          c : Not required unless so specified in the Finn Commitment. I
    _     11. i Opinion of Borrower's Counsel- - - - - - -                      HUD-91725M.            0   1   Should inc lude appropriate attachments.                    I
                                                                                HUDC~~i5M-        0                        ·- . -
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!
    _                  Mortgage Insurance Premium (MIP) Check
                   : Special Conditions from Firm Commitment                                       :C      J
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J                  i_       30. Cert. re: Lead Based Paint,                           !
I                               Asbestos and Smoke Detectors

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                           34. Inspection report re: wood
                                destroying organisms                   !
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~ ···-- __ ' _            _37 and 40. Cert.J!!i f3...en!.._~ojl__._____l_ ____ _...__l_ __ ,_I_____.' _                      __ .. ____ - - - - - - -
                       223(f) Closing Checklist (Revised 412013)
                              Case 4:17-cv-00101-CDL Document 1-4 Filed 05/12/17 Page 58 of 88




              Section 223(f) lnitiaVFinal Closing Checklist
              Project Name and/or Number: Overlook Gardens Apartments, FHA Pro!ect No. 061-11283



I             .                          Item                               i    HUD Form          ! #       I                      Status and Comment
[ N!~. ~~'. f ~~~~d~~~~!L~ents           .         . .. _. .....           : ...... ··-···-     .. 1..   g j....   ....... ---·-- ..... . ·- ..            ···-····-·· .. _ .. .. ..     _···-
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1   _   17.
i ··-- ..
               Note (Multistate) and Rider

            J_I Security
                 .... ···--Instrument
                             . . . . . ··- -··-----·- ..
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    _18. 1                                                                  I &state ! I                                                                                                         I

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   = ~:.l UCC Financing Statements (State & C.O..lJ!l!YL J -···-
    -  21 . ! Request for Endorsement of Credit
            i Instrument with PCNA Rider
                                                                 HUD-      r
                                                                          92455
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                                                                                 M 0 : With all applicable exhibits and attachments.
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,      22. I Agreement and Certification                     i HUD-93305M 0 l If aoolicable.
' -~A ~:- j ?.h<?!!F.?!!11 Cost Certification              . ,·. _1::!~.D:-~~QS-:A   9 Llf_8j)plicable~ - - · - --·        ···-·----·. _·-·---· _. _
i....= 24. I Certified Clo2_ing_§talel'!)e.!lt             -· --·-··                 0 I                                                     ·----
:_     25. I Certificate Regarding Tenant's Security         JI                    I 0 j If applicable.

        26.
              De osits
              Lender's Assurance of Permanent Financing
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              22 3(1) Closing Checklist (Revised 412013)
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               Section 223(f) Initial/Final Closing Checklist
               Project Name and/or Number: Overlook Gardens Apartments, FHA Project No. 061-11283




...__   42.   I EEOC Certification             _____               HUD-92010             0 i Unless collected previous.!x.J?y Housing.
  ,,.,..-- 4~.J Title VI Assurance <?!__g_~!f!p!ianc.~ .. ··---- _ _ Jil:!Q-4190   ·- .9. .LUnless_Eollf!..<:!f!..<i...Prel(Jou~.~HOJ!Si"!.fl:__.... .. ... .. ---·-- -·
  _     44. I Borrower's Byr~ Amendment Certificate                                    0 I Unless collected previously by Housina.
        45. I Lender's Bvrd Amendment Certificate                                    I 0 I Unless collected previously by Housing.
        46. i LIHTC Certificate                                                      i   0 ! Unless collected previouslv bv Housing.




              223(t) Closing Checklist (Revised 412013)
              12/1712013 17713439.V.3
     Case 4:17-cv-00101-CDL Document 1-4----·
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I.
                             EXHIBITC

[                    . LIST.OF REQUIRED REPAIRS
                TO BE COMPLETED AFTER ENDORSEMENT



                                N one
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                                                                                    EXHIBITD

              REQUIRED CERTIFICATES, PERMITS, LICENSES,. QUALIFICATIONS,
                          APPROVALS, ACTIONS, AND FILINGS

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I.

I.
                            Certificates of Occunancv
                   Certificate No.                    Date
1.                       120                        12-9-1988
                         121                       12.:12-1988
                         122                       12-12-1988
I.                       123                       12-12-1988
                         146                       12-22-1988
                         147                       12-22-1988
                         156                       12-29-1988
                         157                       12-29-1988
                         158                       12-29-1988
                         185                        1-30-1989
                         186                        1-30-1989
                         187                        1-30-1989
                         201                        2-10-1989
                         2{)2                       2-10-1989
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                                                      EXHIBITE
                                                    PCNARJDER

Project: Overlook Gardens Apartments
FHA#: 061-11283

The Secretary of Housing and Urban Development ("HUD") and Red Mortgage Capital, LLC ("Mortgagee,,)
agree as fo~lows:

I.        ; Mortgagee agrees to comply with the requirement as stated in the MAP Guide, Appendix SG, Paragraph
            VI.CJ; as revised November 23, 2011, to ohtiin,      for
                                                                  HiJD evaluation, a new Project Capital Needs
            Assessment every .ten years ~hi ch covers 'the next ten years (or the remaining term of ~e Mortgage) plus
            two years.

2.          HUD agrees that Replacement Reserve funds may be used to pay for the costs of obtaining the above
            assessments.




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       Exhibit 21
         Case 4:17-cv-00101-CDL Document 1-4 Filed 05/12/17 Page 65 of 88


                             Sun VaUey Properties, LLP
                                        P.0. B-0x 5809
                                     1320 "Wyn.nton Road
                                   Cotumbus, Georgia 31906
                                     Telephone (706) 320-0090



December 8, 2015

Mr. James Croft                      (Via USPS & Email: j_c_r:9~@redcapi41!gr.oup.cqm )
Red Capital Group
10 West Broad Street- 8th Floor
Columbus, OH 43215

       RE:      Yield Spread Premium


Dear Mr. Croft:

       It has recently come to my attention that there may have been an undisclosed yield spread
premium assodated with our Overlook Gardens loan. Did Red or anyone receive a yield spread
premium associated with the Overlook Gardens loan? If so, how much was the yield spread
premium and why was the yield spread premium not disclosed to us on the HUD~92455M at
closing? Did Red or anyone receive any other fees or compensation that were not disclosed at
closing?

        Also~ is there a yield spread premium associated with the Creekwood rate lock of 3.56%?
lf so, how much is the yield spread premium?

       We assume the servicing fee on the Overlook loan is 25%. Is that correct? Ifnot, what is
it? What is the servicing fee on Creekwood?



Thank you,
~-·--.._
Paul G. Hinman
Asset Manager
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                     Exhibit 22


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1.  gr• up
     1
                                                                        RED Mortgage Capital, LLC
                                                            .        .                 .                    .
10 West Broad Street. 8th Floor • Colum bus, OH 43215 • tel S00.837.5100 • tel 614.857.1400 • redcapltalgroup.corn


Mr. Paul G. Hinman
Sun Valley Properties, LLP
P.O. Box 5809
1320 Wynnton Road
Columbus, Georgia 31906

          Re: Overlook Gardens and Creekwood

Dear Pau l,

       I apologize for my delayed reply to yo~r letter inquiry of December 8th. I felt that accuracy in our
response was more important that speed.                                  ·

        Regarding the Overlook Gardens loan closed in December 2013, there was no yield premium on
the FHA insured mortgage loan. Both our lender's counsel for Overlook Gardens and outside counsel
have reviewed the HUD-92455M (commonly referred to as the "Lender & Borrower Certificate") for
Overlook Gardens. Counsel have confirmed that the Lender and Borrower Certificate was completed in
accordance with all HUD rules, regulations and guidelines and is true and correct. Red Mortgage Capital
submitted the FHA insured mortgage loan on Overlook Gardens to Ginnie Mae for securitization. As
part of that process, Red Mortgage Capital sold the Ginnie Mae security fo Red Capital Markets, a
registered-broker, which Red Capital Markets underwrote the sale of the security at prevailing market
conditions and assumed the related risk of the security transaction.

        Regarding the Creekwood loan, there is no projected yield prem ium on t he FHA insured
mortgage loan scheduled to close December 17, 2015. Red Mortgage Capita l and lender's counsel have
reviewed the draft Lender and Borrower Certificate for Creekwood and agree it has been prepared in
accordance with HUD rules, regulations and guidelines. However, I believe that you are aware that the
amounts reflected therein may change depending on the status of non-critical repairs projected as of
the date of closing. Creekwood will also be submitted to Ginnie Mae for securitization, resulting in a
more advantageous rate to the borrower.

        As a lender, Reef Mortgage Capital establishes mortgage rates and closes all FHA insured
mortgage loans consistent with HUD guidelines and prevailing industry practices. I have reviewed the
3.56% mortgage rate, which you agreed to on the Creekwood loan. The servicing fee on the Creekwood
mortgage loan is also 0.25% of the loan amount, and is include in the mortgage rate. I believe you
received an excellent mortgage rate, given a variety of factors, including but not limited to, the specific
terms of the loan, its securitization as a Ginnie Mae security, the state of interest rates and capital
markets, and preferences and demand of institutional investors in such loans.

         I hope this responds to your inquiry. We look forward to closing Creekwood in the near future.

                                                    Very truly yours,

                                                    rr~
                                                    James F. Croft
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        Exhibit 23
       Case 4:17-cv-00101-CDL Document 1-4 Filed 05/12/17 Page 69 of 88




                                Son Valley Properties, LLP
                                           P.O. Box 5809
                                        132() Wyn.nton Road
                                      Columbus, Georgia 31906
                                         Telepbon~ (706) llo.-0090




December 16~ 2015

Mr. James Croft                          (Via USPS & Email: jg9_l!@I:~d.capitalgr9w.com )
Red Capital Group
I0 West Broad Street - glh Floor
Columbus~    OH 43215

       RE:      Overlook Gardens and Creekwood


Dear Mr. Cr<>ft:

       I received yoll! reply to my December 8, 2015 letter.

       Thank you for confirming Red did not receive a yield spread premium for the Overlook
Gardens loan and that there is no yield sp:read premium included in the rate fur the Creekwood
loan scheduled to close next week. I am glad ro know Red worked to obtain the best available
interest rates fur Sun Valley for the loans on these two properties.


Thank you,


~-·
Paul G. Hinman
Asset Manager


Cc:    Scott Toccati (Via Email Only: sta~c.ati@tri!l_i_ur.n~~apit~.:..0.9.ID }
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       Exhibit 24
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 1                                                                        The Honorable James L. Robart

 2

 3

 4

 5

 6                                 UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF WASHINGTON
 7                                          AT SEATTLE

 8   JAMES L. SCHNEIDER, II, individually,

 9                                       Plaintiff,         No. 10-1714

10         v.                                               DECLARATION OF MARIE HEAD

II   PRUDENTIAL HUNTOON PAIGE
     ASSOCIATES, LTD, a Delaware corporation;
12   PRUDENTIAL MORTGAGE CAPITAL
     COMPANY, INC., a Delaware corporation and
13   MARIE HEAD, individually and MARIE HEAD
     and JOHN DOE HEAD, as a marital
I4   community.,

15                                   Defendants.

16
               I, Marie Head, on oath, state: .
17
               1. Declarant. I am over 18 years of age, have personal knowledge of the facts set forth
18
     in this declaration and am competent to testify to them. I became the President and Chief
19
     Executive Officer of Prudential Huntoon Paige, Ltd. (PHP) in 2004, when the corporate office
20
     relocated to Atlanta. I am familiar with all aspects of the loan transaction process, and oversaw
21
     the Seattle office during the time that Mr. Schneider was employed by PHP.
22
               2. Prudential Huntoon Paige, Ltd. PHP is a separately owned entity· of Prudential
23
     Mortgage Capital Company (PMCC.)                 PHP specializes in Federal Housing Administration
24
                                                                       WINTERBAUER & DIAMOND                 PLLC
                                                                            1200. Fifth Avenue, Suite 1700
     DECLARATION OF MARIE HEAD - 1
                                                                             Seattle, Washington 98101
     10-1714
                                                                             Telephone: 1206) 676-8440
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 1    fixed-rate and long-term. It is a unit of Prudential Mortgage Capital Company, LLC (PMCC),

 2    which is the commercial mortgage lending business of Prudential Financial, Inc. PHP has been

 3    in business since 1973, and was acquired by PMCC in 2000. In 2004, PHP's corporate

 4   headquarters were relocated from Edison> New Jersey) to Atlanta, Georgia. At that time, PHP

 5   also had regional offices in Denver, Colorado, and Seattle, Washington, and all of these offices

 6   originated, underwrote and participate in closing loans. In 2005, PHP established a regional

 7   office in Chicago, Illinois and the Seattle office's underwriting function was eliminated. From

 8   2005 until 2010, the Seattle office only originated FHA loans. In May, 2010, PHP closed the

 9   Seattle office completely, and was left with regional offices in Atlanta, Denver and Chicago,

I0   satellite offices in other areas, and no office in Seattle. In connection with the closure of the

11   Seattle office, PHP offered Mr. Schneider the opportunity to transfer elsewhere and remain with

12   the company. He declined, which resulted in the separation of his employment.

13             3. PHP's Loan Officer Specialists. During his employment with PHP, Mr. Schneider

14   held the position of Loan Officer Specialist.            He was one of 9 such Specialists across the

15   company who were responsible exclusively for FHA product. These Specialists, including Mr.

16   Schneider, were paid largely on a commission-basis, in accordance with the terms of the PMCC

17   Loan Officer Commission Plan.            The compensation plan for the Specialists was materially

18   different than the compensation plan for other PHP employees; none of whom were paid

19   commissions .. During the course of Mr. Schneider's employment with PHP, the commission

20   plan that applied to Mr. Schneider was updated annually, with the exception of 2008. The last

21   change during Mr. Schneider's employment was made effective January I, 2009, and was

22   commonly referred to as the 2009 Plan.

23             4.    PHP's Business. Being an FHA-approved mortgage lender means that PHP has

24
                                                                           WINTERBAUER & DIAMOND                   J>Lt..C
                                                                                   1200 Fifth Avenue, Suite 1700
     DECLARATION OF MARIE HEAD - 2                                                  Seattle, Washington 98101
     10-1714                                                                        Telephone: (206) 676-8440
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     been approved by the FHA.to participate in the FHA's mortgage insurance programs, including

 2   as an approved multifamily mortgagee by making mortgage loans for the .financing and

 3   refinancing of multifamily rental properties and long-term health care facilities in accordance

 4   with FHA regulations pursuant to the National Housing Act. PHP originates these loans with

 5   borrowers through ·its own personnel, as well as through the services of contracted, independent

 6   mortgage brokers; manages and services the loans; and sells corresponding securities to investors

 7   in the secondary market.     The refinancing of a multifamily residential property illustrates the

 8   general process.    PHP negotiates the terms and conditions of the refinancing with the

 9   owner/operator of the property, i.e., the borrower. Those tenns include an estimated interest rate.

10   Once agreement in principle is reached between PHP and the borrower, the loan is assigned to a

11   PHP underwriter for further review.      Thereafter the loan is packaged and presented to the

12   Department of Housing and Urban Development (HUD) for still further review and approval. All

13   of the terms of the loan are conditioned upon FHA approval. The interest rate projected

14   throughout the loan transaction is an estimated rate until FHA issues its loan commitment. Once

15   HUD approval is secured, PHP notifies the borrower and, assuming the borrower still wishes to

16   move forward with the transaction, PHP issues a funding commitment letter to the borrower.

17   The funding commitment l~tter includes a rate lock authorization, which records the borrower's

18   instructions to PHP when PHP thereafter trades in the open secondary market a security that

19   corresponds to the loan.    PHP essentially markets the security to potential investors. In the

20   context of this example, i.e., a multifamily rentai property, the loan security would be backed by

21   the Government National Mortgage Association (GNMA or '"Ginnie Mae"), which means that

22   GNMA would guarantee the repayment of its principal and interest in full. These securities often

23   are referred to as "pass through" certificates because the principal and interest of the underlying

24
                                                                   WINTER:BAUER & DIAMOND                 PI.LC
                                                                          1200 Fifth Avenue, Suite 1700
     DECLARATION OF MARJE HEAD - 3                                         Seattle, Washington 98101
     10-1714                                                               Telephone: (206) 676-8440
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     l   .loans are "passed through" to the investors.       The   rat~   lock authorization may take different

 2       forms. For example, it might require PHP to further confer with the borrower under certain

 3       circumstances, or it might give PHP permission to conunit the borrower to a specific interest rate

 4       without further discussion, i.e., to lock in that interest rate, if it is available.      Under the latter

 5       circumstance, PHP is not required to disclose to the b01Tower the actual rate that is secured from

 6       the investor. That rate may be different than the rate which the borrower is locked into. That

 7

 8                                                                             ---
         difference may create a trading premium that accrues to the benefit of PHP. In other words,

         there are opportunities for PHP to realize a profit based on the margin between the interest rate

 9       locked in with the boITower, and the interest rate at which the loan security is sold to the third

10       party.    PHP also generates revenue from financing fees and placement fees. It is no secret that

11       PHP and its competitors utilize this strategy as their business model. This same general business

12       model ~an be found in any area of business that operates under profit margins, such as the retail

13       and food industries.     What is carefully guarded, however, is the profit margin at.., which a

14       company such as PHP generates and then sells a loan on any given loan transaction.               As interest

15       rates are always in a state of flux, no two loan transactions are ever the same.

16                5. The Rate Lock Information. The rate lock information described above is highly

17       proprietary. PHP views it as extremely confidential and manages it with corresponding care and

18       diligence. In the context of any particular deal      d transaction, PHP typically limits written
19       disclosure of rate lock information to a single document, namely, the Trade Commitment, which

20       is a letter signed by the investor, i.e., the third-party purchaser of the loan security, that records

21       and confirms the borrower's interest rate lock as well as the premium at which the corresponding

22       loan security was sold to the investor. The borrower is not a party to the Trade Commitment or

23       related loan security transaction. The rate lock and trading premium information is not made

24
                                                                            WINTERBAUER & DIAMOND PLr..c
                                                                                  1200 Fifth Avenue, Suite 1700
         DECLARATION OF MARTE HEAD - 4                                             Seattle, Washington 98101
         10-1714                                                                   Telephone: ('206) 676·8440
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     1    available to the borrower, it is not disclosed outside the company other than to the parties to the

 2        Trade Commitment, to my knowledge it may not be disclosed to others without the purchaser's

 3        knowledge and consent, it is not saved in hard copy form, and it is stored electronically under

 4        password pr9tection. Only certain, specified persons/positions within the company have access

 5        to the information electronically. These persons include Specialists, like Mr. Schneider, but

 6        policy prohibits them from printing the infonnation; they have access to it only electronically,

 7       not in any hard copy format. This password protection system was put in place because of a

 8       pri9r unauthorized, albeit inadvertent, disclosure. Through these and other measures, PHP

 9       greatly restricts, controls and monitors the disclosure of rate lock information, permitting its

10       distribution only on a strict, need-to-know basis. Io my experienced, this level. of care is not

11       unique to PHP, but rather is industry standard.       The general rule is that trade details are

12       considered to be, and treated as, confidential information between the parties to the transaction.

13       This level of care is necessary because the information is highly sensitive and subject to easy use

14       and/or manipulation to PHP,s competitive disadvantage.         For example, if a competitor had

15       access to information regarding PHP,s interest rate locks and premiums on various deals, the

16       competitor could use that information to underbid PHP, to attack PHP's reputation by claiming

17       that the borrower could have obtained a better deal (i.e., lower interest rate) thro"ugh the

l8       competitor, or to persuade or encourage a borrower to second-guess the value of the loan the

l9       borrower entered into, despite the fact that PHP, in order to secure the borrower,s business in the

20       first place, had to offer a competitive interest rate by industry standards. The unauthorized

21       disclosure of premiums, or profit margins, can be even more damaging in PHP's line of business

22       due to changing interest rates. Constantly-changing market forces outside of PHP's control (i.e.,

23       interest rates) nearly guarantee that one borrower, based simply on the timing of when its loan

24
                                                                       WINTERBAUER & DIAMOND               PLLC
                                                                           1200 Fifth Avenue, Suite 1700
         DECLARATION OF MARIB HEAD - 5                                      Seattle, Washington ,98101
         10- 1714                                                           Telephone: (206) 676-8440
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      closes, will receive a different interest rate at a different premium than another borrower. This is

 2    an unavoidable reality in the loan industry. However, if information regarding profit margins

 3    was shared among borrowers started comparing loan terms, this fact can be easily forgotten

 4    a.midst the focus on who ultimately received a better deal. To date, the only known document to

 5    contain highly sensitive interest rate lock and premium information is the Trade Commitment.

 6   The Trade Commitment is essentially a two- or three-page letter, which confirms and records,

 7   among other things, the borrower's interest rate lock, and       the premium at which the loan was
      ~··

 8   sold to the third-party financial institution. The borrower does not see the Trade Commitment

 9   due to its highly sensitive     nature, ~ and   because by the time the document is generated, the

10   borrower has already formally secured a loan with a competitive interest rate.                   Redacting

11   information related to the premium will not protect PHP from unfair scrutiny, as individuals with

12   knowledge of how 1he FHA loan industry works would be able to extrapolate the redacted

13   information, based on the information left in the document.

14             I declare under penalty of perjury that the foregoing is true and correct.
                                    <V'h
15             Executed on this).£ day of February, 2011, at Atlanta, Georgia.

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                                                                       WINTERBAUER & DIAMOND                 PL.LC
                                                                             1200 Fifth Avenue, Suite 1700
     DECLARATION OF MARIE HEAD - 6                                            Seattle, Washington 98101
     10-1714
                                                                              Telephone: (206) 676-8440
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 1                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF W ASIDNGTON
 2
               I hereby certify that on June 3, 2011, I electronically filed the foregoing with the Clerk of
 3
     the Court using the CM/ECF system which will send notification of such filing to the following:
 4
               Mr. Mario Bianchi
 5             Lasher Holzapfel Sperry & Ebberson PLLC
               601 Union Street, Suite 2600
 6             Seattle, WA 98101

 7

 8             DATEDthis3rddayofJune,20!1. Af_      . =-JA=Wl""--_
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                                                                            · -------
 9                                                   Rachel Ernens
                                                     Legal Assistant
10                                                   WINTERBAUER & DIAMOND PLLC
                                                     1200 Fifth Avenue, Suite 1700
11                                                   Seattle, Washington 9810 1
                                                     Phone: 206-676-8440
12                                                   Fax: 206-676-8441
                                                     rnail@winterbauercliarnond.com
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                                                                       WINTERBAUER & DIAMOND                 PLLC
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                                                                              Seattle, Washington 98101
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                                                                              Telephone: 12061 676-8440
Case 4:17-cv-00101-CDL Document 1-4 Filed 05/12/17 Page 78 of 88




       Exhibit 25
       Case 4:17-cv-00101-CDL Document 1-4 Filed 05/12/17 Page 79 of 88
        Case 8:14-cv-00142-TDC Document 36 Filed 09/17/15 Page 1of1



                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MARYLAND
                                                                                         (
JOSHUA HAUSFELD,

       Plaintiff,

       v.
                                                          Civil Action No. IDC-14-0142
LOVE FUNDING CORPORATION,

       Defendant.



                                           ORDER

       Pending before the Court are the Motion for Summary Judgment, ECF No. 31, filed by

Defendant Love Funding Corporation ("LFC"), and the Cross-Motion for Partial Summary

Judgment, ECF No. 32, filed by Plaintiff Joshua Hausfeld.

       For the reasons stated in the accompanying memorandum opinion, LFC's Motion for

Summary Judgment is DENIED. Hausfeld's Cross-Motion for Pai:tial Summary Judgment, ECF

No. 32, is GRANTED IN PART and DENIED IN PART. The Cross-Motion is GRANTED as to

Hausfeld's deferred commission and Forest Grove claims under the MWPCL, but is DENIED as

to LFC's affirmative defense of set-off and recoupment.

       It is so ORDERED.



Date: September 17, 2015                                          /s/
                                                   THEODORED. CHUANG
                                                   United States District Judge
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       Exhibit 26
                                 Case 4:17-cv-00101-CDL Document 1-4 Filed 05/12/17 Page 81 of 88
                                  Case 8:14-cv-00142-TDC Document 32-7 Filed 03/13/15 Page 2 of 8




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                                                                                                                                      www.lovefunding.com

                                 LOVE FUNDI NG
                                  KNOWLEOCf, INTECRJTY. RCSULTS.



                                                                                                Personal & Confidential


                                 April 14, 2010

                                MT. Joshua S. Hausfeld
                                Love·Funding Corporation
                                1250 CoMecticutAvenue.
                                Suite 550
                              · W.ashington, DC 20036

                                            ·Re:          Employment Agreement- Move from Underwriti.ng to Origination Position

                                 Dear Mr. Hausfeld:

                                 Love Funding Corporation (LFC) is pleased to offer you the opportunity to move from your current
                                 job i11 Und~rwriting to a position in Origination. · A descriptiQn of the position and the general terms
                                 of your employment are as follows:

                                 Title:                                 Vice President-Loan Originator
                                                                                        .                                                                             .
                                  Duties:                              Originate loans through direct borrower contact, coordinate the preparation
                                                                       and submission Of potential loans to funding soilrces, facilitate the process
                                                                       from application to commitment, and assist in closing loans. L'FC agrees to
                                                                       provide, and make available to you, adequate staff to effect timely and
                                                                       competent processing and underwriting. We understand that your primary
                                                                       facus will be originating FHA loans, and you may also originate US agency
                                                                       loans (FNMA, FHLMC) as well as other loan:Products from time to time.
                                                                       We do require concurrence with your overall individual marketing plan.

                                  Reporting!                            Initially, you will report directly to 1he undersigned, Mark Dellonte, in our
                                                                        Washington DC office. You will also report indirectly to the members of the
                                                                        Executive Committee. Presently that committee is comprised of the Karen
                                                                        Ford. Senior Vice President -Administration and Finance, Brian Robertson,
                                                                        Senior Vice President- Operations, and Jon Camps, Senior Vice President- ·
                                                                        Chief Underwriter. Reporting assignments may change from time to time.

                                  Effective Date:                       Januacy 1, 201 0

                                  Office:                               LFC will provide office space in our Washington, DC office and business
                                                                        furnishings and necessary b~iness equipment, including a computer, printer,
                                                                        fax, plione service (including cell phone), answering machine, and high-speed
                                                                        internet access.




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                                              Case 4:17-cv-00101-CDL Document 1-4 Filed 05/12/17 Page 82 of 88
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                                              Travel/
                                              · Entertainment:                Business travel (airfare, hotel, entertainment, car rentals, mileage allowance
                                                                              foruse ·ofpersonal vehicles, etc., outside oftbo Washington, DC area,         .
                                                                              entertainment expenses, and miscellaneous out-of-pocket expenses associated
                                                                              with ex.ecuting your job for LFC are reimbursed upon submission ofa
                                                                              completed expense report with appropriate receipts.

                                              Conventions:                     LPC normally schedules originators for one or two conferences or
                                                                               conventions each year for business development and education purposes,
                                                                               consistent with the annual marketing plan. Company paid·attendance at
                                                                               conferences is at the discretion and approval of Executive Management.

                                              Compensation:                    Salary of$100,000 per annum to be paid on a biweekly basis plus
                                                                               production commissions as appropriate pursuant to LFC's .
                                                                              ·Compensation Policy. Commission is paid quarterly in arrears after
                                                                               the fees are earned and received by the Company. At your level, you
                                                                               are required to cover your base salary two and a quarter (2.25) times
                                                                              ·before earning commissions.

                                                                               Commissions are earned based upon individual Annual Production as
                                                                               follows:

                                                                                    Cumulative Total                                                                         P e rcentage
                                                                                    "Animal Production''                                                                         AP Bonus

                                                                               $0 - Base Salary Cover                                                                                0.0%
                                                                               Next $100,000                                                                                         25.0%
                                                                               Next $100,000                                                                                         30.0%
                                                                               Next $100,000                                                                                         35.0%
                                                                               Next increment to $1,000,000                                                                          45.0%
                                                                               $1,000,000-infinity                                                                                   55.0%*

                                                                               "Annual Production" is defined as that amount of cumulative fees1 .net
                                                                               of direct offsets to fee income specific to any Joan (e.g. correspondent
                                                                               capital markets firm participatfon in fees, outside broker fees, legal
                                                                               fees not paid by the borrower, etc.), earned !lJld received by the
                                                                               company each calendar year arising from:                      ·

                                                                                •     190% of origination fees generated from FHA insured mortgages
                                                                                      where LFC is the underwriter/processor and mortgagee;

                                                                                •     100% of profits less .125% (12.5 basis points) of the loan amount,
                                                                                      net of losses previously experienced, from the sale of FHA insured
                                                                                      mortgages or,GNMA securities (see Note I. below);


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                                         Case 4:17-cv-00101-CDL Document 1-4 Filed 05/12/17 Page 83 of 88
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                                                                 •    Credit for two (2) years of the servicing fees generated from any
                                                                      closed lo~ for which Love Funding has retained the servicing
                                                                      rights <typically 12 basis points per year on FHA loans) to be
                                                                      credited upon the closing of the loan.

                                                                 •    110% of revenue generated for non-recourse conventional
                                                                      programs originated by Love Funding and placed through another
                                                                      lender;

                                                                 •    70% of revenue generated from Joan placemehts which are
                                                                      originated by someone.other than you in Love Funding but
                                                                      assigned to you; from existing LFC/Heartland loan servicing .
                                                                      portfolios or originated through affiliated companies (these deals
                                                                      are referred to as "House Deals");
                                                                                               '
                                                                 •    100% ofconventional securitization profits or losses (see Note l.
                                                                      below on treatment of losses) allocable to specific Joans;

                                                                 •    100% of Shared Revenue (see Note 4. below) generated;

                                                                  •   100% ofany fees earned for arranging real estate sales, leasing
                                                                      commissions, disposition fees, investment advisory fees earned by
                                                                      the originator for the Company as long as the originator is in the
                                                                      etl'lploy of the Company.

                                                                   * Production offee income great~r than $1,000,000 will trigger a deferred
                                                                   compensation mechanism, whereby apercentage (5%) ofthe total AP bonus
                                                                   (S5%) i's defe17ed. Once the S5% commission level is reached, SO% will be
                                                                   paid in the next commission pay period while 5% will be riefe17'ed over a
                                                                   three-year period. Vesting ofthe deferred bonus w.ill be ratable over 3 years
                                                                  .and governed under the tenns ofthe Vesting Agreement. Payment ofthe
                                                                   deferred bonus shaJ/ be made in.a lump sum at the end ofthe three-year
                                                                · period

                                                                 Note 1. In the event ofsecun'tization los_ses, such losses allocable to
                                                                 spectjic loans will be a deductionfrom~Annua/ Production, and
                                                                 not assessed retroactively.· In any calendar year, originators may opt
                                                                 to forego both the opportuflft)' for securttization profits and the ·risk of
                                                                 securitization losses. ~uch election must be noticed in writing to
                                                                 management prior lo January J'h ofeach year.

                                                                  Note 2. Transactions that are assigned by LFC and not directly
                                                                  originated by any originator, or which require uncommon utilization
                                                                  ofLFC resources to cause the transaction to be completed,·will have

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                             diminished ~edit to'ward Annual Production. Such" reduction in credit
                             toward Annual Production, or redistribution ofsuch credits, will be
                             adjudicated by the Executive Management Committee.

                             Note 3. All matertal, direct expenses related·to any specific
                             transactton in excess ofthe application fee collected/or that
                             transaction will be an off-set to credits to Annual Production/or that
                             transaction. Such expenses shall include travel and entertainment
                             costs, third-ptlrty expenses patd by Love Funding and not reimbursed,
                             and all other costs 'borne by Love Funding to complete the transaction.

                             Note 4. Shared Revenue is fee, servicing income, or other income (as
                             above) generated by a transaction in which tWo or more originators
                             are inv9lved. The Company will support.and encourage the practice
                             oforiginators collaborating with other ortgtnators an4 working as a
                             team with fees earned split equitably among the team. Allfee splits
                             will be recommended by originators but spltts will be determined by
                             the Executive Management-Committee, ba.sed upon the
                             recommendations ofthe originators, and an evaluation ofthe
                             respective co'ntributions oftime and talent. Splits may be modified as
                             the processing continues because ofchanges in responsibility and
                             effort. MDdijication could include changes in proportions as well as
                             lnt<lusion ofaddition personnel.

                             Note· 5. Upon terminaiion ofemployment, production commissions
                             may he paid to the former originator based on the discretion ofthe
                             Executive Management Committee. Such production commissions
                             shall be ratable to the extent that the former originator contributed to
                             the overall. necessary·and normal requirements by originators to close
                             the loan, the amount ofstaffeffort re.quired to "Close the in the
                             originator's absence, and the circumstances surrounding the
                             termination qfemployment ofthe originator.

                              Note 6. Appltcationfees and non-refandable retainers are not counted
                            · toward Annual Production and will be used to offeet direct expenses
                              incurred with the propessing and closing ofthe transactipn.

                             Note 7. LFC reserves the right to modifY tts compensation policy as
                             deemed necessary and prudent 'by the Executive Management
                             Committee.




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                     Case 4:17-cv-00101-CDL Document 1-4 Filed 05/12/17 Page 85 of 88
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                     J,:>eals in Process:
                                             J,utz Care and Rehabilitation Center: As previously agreed, you
                                             will be compensated pursuant io the company practice for
                                             compensating Underwriters for deals originated. You will receive
                                             25% of the revenue generated net of the fees owed to any broker on the
                                             deal. You will not receive annuaf production credit for this deal.

                                            . Chatsworth at Wellington Green: As previously agreed, you will be
                                              compensated pursuant to the company practice for compensating
                                              Underwriters for deals originated. You will receive 25% of the
                                              revenue generated net of the fees owed to any broker on the deal. You
                                              will not receive annual production credit for this deal.

                                             All other deals currently in your pipeline will be treated in accordance
                                             with the origination payment schedule described above.

                     Vacation:               Three weeks of paid vacation per year.

                     Personal Days:          'IWo person~ days per year.

                     Sick Days:               Employees are eligible for sick leave after the first 90 days ofemployment.
                                              Ten days per year are earned for sick time and may be accrued from year to
                                              year during emplpyment without limitation. Your employment to date will
                                            · remain as time in service to the company and your eligibility for benefits will
                                              remain intact as they are.

                     Fringe Benefits:        You will continue to be eligible to participate in the current program of group
                                             benefits provided to LFC employees. The benefits are reviewed and updated
                                             from time to time. The.following is a s~mary of the current benefits:

                                             Life insurance is provided by LFC at no cost to the employee and is based on
                                             the employee's annual salary, which at your level is twice youi: salary.

                                             Disability insll!ance is provided at no cost to the employee. and Is a long-term
                                             policy that van provide up to 60% of your monthly earnings, should you
                                             become disabled
                                             Health insurance is offered to employees with 70% of premiums paid by LFC
                                             for the base plan PPO option.

                                             Dental insurance is also offered to employees with 70% ofpremiwns paid by
                                             LFC.

                                             Flexible Benefit Spending Accounts are also offered at an optional I 00%
                                             employee cost, with enrollment at January I annually.

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                                   A 401 (k) Plan is sponsored by the Company. Cutrently, employee
                                   contributions are matched by LPC at Fifty Percent (50%) up to the first Six
                                   Percent (6.0%) contributed by you. The vesting schedule for the Company
                                   ma1ch is as foflows;

                                                  Less than two years:                   0%
                                                  Two years to three yeai:s:             20%
                                                  Three years to four years:             40%
                                                  Four years to five years;              60%
                                                  Five years to six years:               80%
                                                  Six years or more:                     100%

                                   Tuition Reimbursement for approved course work directly related to job
                                   responsibilities will be considered on a case-by-case basis.

               Annual Reviews:     One key consideration for continued employment will be a review of loan
                                   closings as well as loans in process. Consistent Annual Production (defined
                                   under "Compensation", abo:ve) of not less than $500,000 must appear to be
                                   achievable and continue during any trailing twelve-month period.

               Timing & Effect:    This proposal sets forth the entire understanding between you and·Love
                                   Funding Corporation and supersedes all other and any previous written and
                                   oral agreements.

               Employment Basis:   LFC employees are at-will. LFC may terminate employment at any time with
                                   or withou~ cause if business conditions dictate, in LFC sole discretion. In
                                   addition, LFC reserves the right to modify the terms and conditions ofany
                                   employment, including but not limited to, compensation and benefits, ~t any
                                   time in its sole discretion.                                                ·




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                If you have questions regarding our benefits plan, please contact Brian Robertson iq the St. Louis
                office (314-512-7959) and he will be glad to assist you.

                Should you elect to accept this employment agreement, please indicate your acceptance by signing a
                copy of this agreement and forwarding it to my attention.

                Sincerely,
                LOVE FJJNDING

                111l~~
                Mark Dellonte
                PresidentI


                AGREED & ACCEPTED:




                        Karen Ford
                        Joo Camps                      Gloria Clement




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